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                            Exhibit 30
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http://biking4books.org/sponsors.html                                     11/6/2020
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http://biking4books.org/sponsors.html                                     11/6/2020
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                            Exhibit 34
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                                                             CASHIER'S CHECK                             SERIAL* 6590701660
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   Purchaser Account:
   Operator 1.0,:       u459635          a137421
   Funding Source:      Paper Items(s)                                                                   December 29, 2016




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                                              The E Pluribus Unum Foundation

  November 21, 2016                            The E Pluribus Unum Foundation

  Manhattan    Street Capital, Inc.
  February 1, 2017
  Attn.: Mr. Imaad S. Zuberi
  5694  Mission
  The Kimsey     Center Road
               Foundation
  Suite
  Attn.: 602-468
         Mr. Mark Kimsey
  San
  1750Diego,
        Tyson’sCA  92108
                Blvd
  Suite 1500
  Dear
  McLean,Imaad:
            VA 22012

  On
  Dearbehalf
        Mark: of the E Pluribus Unum Foundation, I would like to send my sincerest thanks to you
  for the generous contribution of $200,000 on November 17, 2016. This donation contributes to
  our Foundation’s
  On behalf  of the E ultimate  goal ofFoundation,
                      Pluribus Unum     defending and   promoting
                                                   I would          America’s
                                                           like to send        valuesthanks
                                                                         my sincerest  and interests.
                                                                                            to you andYour
                                                                                                       the
  contribution will support our current strategic projects involving targeted public education and
  Kimsey   Foundation   for the  generous  contribution of $5,000   on  January 25,   2017.  This donation
  outreach.
  contributes to our Foundation’s ultimate goal of defending and promoting America’s values and interests.
  Your contribution will support our current strategic projects involving targeted public education and
  outreach.
  For  your tax records, please accept this letter as a confirmation of your gift. Note that the E
  Pluribus Unum Foundation is an organization that has applied for United States Internal Revenue
  For your tax records, please accept this letter as a confirmation of your gift. Note that the E Pluribus
  Service (IRS) exemption from federal income taxes pursuant to Section 501(c)(3) of the Internal
  Unum Foundation is an organization that has applied for United States Internal Revenue Service (IRS)
  Revenue
  exemptionCode
              from of  1986, income
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                      (the “Code”)     share   a copy charity”
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             a copy  of the official IRS letter confirming our tax-exempt status upon its receipt.

  If
  If you wouldlike
     you would  liketoto learn
                       learn   more
                             more    about
                                  about     our Foundation,
                                        our Foundation, pleaseplease
                                                              contactcontact  me at jkdemp@gmail.com.
                                                                      me at jkdemp@gmail.com.

  Thank  youagain
  Thank you  againforfor your
                       your   generosity.
                            generosity.

  Sincerely,


  Jason K. Dempsey, PhD
  Chairman




  * For tax purposes, we are required to inform you that no goods or services were provided in exchange for your contribution. This letter serves as
  your receipt.

  * For tax purposes, we are required to inform you that no goods or services were provided in exchange for your contribution. This letter serves
  as your receipt.
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                                                            step in and work toward making things better for all.
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  November 7, 2020


  Honorable Judge Virginia Phillips
  United States District Court Judge
  Central District of California
  First Street Courthouse
  Courtroom 8A, Eighth Floor
  350 West First Street
  Los Angeles, CA 90012

  Regarding: Imaad Zuberi



  Dear Judge Phillips:

  I’m writing this testimonial letter for Imaad Zuberi, with hopes of apprising the Court and all
  stakeholders of his contribution to teach and inspire people in prison.

  Imaad Zuberi reached out to our team more than one year ago. He inquired about the work we
  do. I told him about our efforts to improve outcomes of America’s prison system. Imaad spoke
  openly with me about his regret for making decisions that led him into the criminal justice sys-
  tem. In an effort to make amends, he said that he wanted to help advance our cause. He asked
  what he could do.

  Many people in jails and prisons live without hope. We showed Imaad a video that we filmed
  with U.S. District Court Judge Mark Bennett, from the Southern District of Iowa. In that video,
  Judge Bennett spoke about the importance of helping people in prison prepare for law-abiding,
  contributing lives.

  Since recording that video with Judge Bennett, I told Imaad that our team at Prison Profes-
  sors began opening relationships with prison administrators across America. We created digital
  courses to teach people in prison how to prepare for law-abiding, contributing lives. Three federal
  prisons, including Atwater, Victorville, and Florence use our curriculum. In addition, every state
  prison in California uses programs that Prison Professors creates.



     Prison Professors / 32565 Golden Lantern, Suite B1026 / Dana Point, CA 92629
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  When Imaad told us that he wanted to help, we told him that we needed more resources to teach
  people how to prepare for employment upon release. Imaad volunteered to write a book and a
  course. He called his project The Entrepreneurial Mindset, which made sense to us. Since many peo-
  ple have a hard time finding employment upon release from prison, Imaad designed a curriculum
  that would teach people how to create their own income streams.

  When Imaad said that he would write a book and a course, and that he would donate it to Prison
  Professors so we could expand our curriculum, I gratefully accepted. He began sharing drafts of
  his manuscript. Then he surprised me by sending a digital file of the book, and softcover books
  for me to use as teaching resources.

  Prisons that use our curriculum hold more than 100,000 people across America. Thanks to
  Imaad’s generous contribution, those people now have access to The Entrepreneurial Mindset, and to
  the videos he produced to help us teach.

  I offer this letter with hopes that it may help the Court’s deliberations about his character.

  Respectfully,



  Michael Santos
  Founder, Prison Professors
  Michael@PrisonProfessors.com




     Prison Professors / 32565 Golden Lantern, Suite B1026 / Dana Point, CA 92629
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  May 16, 2019


  To Whom It May Concern:


  It is a true pleasure for me to write this letter to endorse the kindness, compassion, and
  professionalism of Mr. Imaad Zuberi, who has been a wise mentor and a supportive
  friend of mine since 2013.

  In preparation for my application to the Master of Accounting program at University of
  Southern California (USC), I contacted Mr. Zuberi and asked him questions regarding
  the culture and his study experiences at USC. As an alumni, Mr. Zuberi gave me
  unreserved advice regarding how to succeed in studying at USC. He also encouraged me
  to further my finance knowledge through the professional licenses study program. With
  the help of his professional guidance, I obtained multiple employment opportunities
  and passed professional license exams, which have become great assets in my finance
  career.

  Mr. Zuberi also extended generous assistance to me when my family member had a
  severe medical condition in 2017. After knowing my mother was in critical medical
  situation, Mr. Zuberi asked for my address, drove to my location, and gave me a check of
  $5,000 to help with my mother’s surgical expenses. Mr. Zuberi is not a friend that I
  contact frequently, nor is he closely related, but he is the one who offered immediate
  help during a most difficult time in my life. Mr. Zuberi inspired me to be thoughtful,
  generous, and helpful to other people in difficulties. I am grateful to have such a person
  in my life as a mentor and a friend.

  Please do not hesitate to contact me should you have any further queries.


  Yours sincerely,




  Yubei Liu
  Mobile:
  E-mail:
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                            Exhibit 40
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               The Order of the Knights of Pythagoras King Solomon Council #10
         1600 W. Century Blvd. Los Angeles, California 90047-4218​|​           ​|​email:



  From: PM Elroy Johnson Sr.

  November 06, 2020

  To: The Honorable Judge Virginia Phillips

  First Street Courthouse

  Courtroom 8A, 8th Floor

  350 West 1st Street

  Los Angeles, CA 90012

         I am at your humble grace to provide you this letter of character reference to inform you

  of Mr. Imaad Zuberi. He has provided donations to these non-profit organizations that I am

  currently serving as secretary and a Pastmaster respectfully (2007, 2010, 2016-2018) and

  assistant secretary (2019 and 2020). As a Pastmaster we guide our organization in civic and

  charitable engagements which may direct us to seek donations for charitable causes. As an

  advisor of the youth department we offer guidance to alternatives away from gangs by

  emphasising civic engagements for our youth. These tasks sometimes take trips to different cities

  and educational materials such as books and engaging in activities such as archery classes as

  well as crafts and arts to activate the youth creativity places the organization at an economic

  disadvantage.

                                                (1 of 2)
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         There are two divisions that I am a member and advisor; one is Advisor and Secretary of

  The Order of the Knights of Pythagoras King Solomon Council No. 10, a youth organization

  serving under the guidance of the Youth Department of the Most Worshipful Prince Hall Grand

  Lodge of the State of California Incorporated (MWPHGLC) 501 c3, under the Most Worshipful

  Grand Master Samuel T. King 9027 South Figueroa Los Angeles Ca. , and also as assistant

  secretary of the subordinate Lodge Highland Heights No. 59 1650 W 45th St. Los Angeles, CA

  90062 (as well under The MWPHGLC).

         Mr. Imaad Zuberi has made it possible with his fundings to allow me to assist the youth

  of South Los Angeles in keeping them focused on serving the community such as transporting

  them to events. One in particular was held in San Diego, CA 2019 commemorating the great

  American Prince Hall who valiantly served in the American Revolutionary War. Prince Hall is

  the founder of African-American Freemasonry and he has instilled American patriotism in our

  teachings as well as educating African-American youth at a time when it was not in the interest

  to do so in America late 1700’s. As a token to some of our past work I have provided a yearbook

  that took donations like provided by Mr. Imaad Zuberi to have published indicating when I

  served as a Pastmaster of this venerable institution and a calendar where I am currently serving

  as secretary of the youth department thank you for your time. I can be reached at the number

  provided.



  Respectfully,

  PM Elroy Johnson Sr.                  .

                                               (2 of 2)
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                            Exhibit 41
 Case 2:19-cr-00642-VAP Document 310-6 Filed 02/10/21 Page 39 of 121 Page ID #:5842



                 Office of the Inspector General
                 U.S. Department of Justice




    Audit of the National Security
     Division’s Enforcement and
 Administration of the Foreign Agents
           Registration Act




Audit Division 16-24                                           September 2016
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          AUDIT OF THE NATIONAL SECURITY DIVISION’S
       ENFORCEMENT AND ADMINISTRATION OF THE FOREIGN
                  AGENTS REGISTRATION ACT

                              EXECUTIVE SUMMARY

         The Foreign Agents Registration Act of 1938 (FARA), 22 U.S.C § 611 et seq.,
  as amended, is a disclosure statute that requires persons acting as agents of
  foreign principals in a political or quasi-political capacity to make periodic public
  disclosure of their relationship with the foreign principal, as well as activities,
  receipts, and disbursements in support of those activities. According to the
  Department of Justice (Department), this disclosure facilitates evaluation by the
  government and the American people of the statements and activities of such
  persons in light of their function as foreign agents. The FARA Registration Unit
  (FARA Unit) of the Counterintelligence and Export Control Section (CES) within the
  Department’s National Security Division (NSD) is responsible for the administration
  and enforcement of the Act. A willful failure to register as an agent of a foreign
  principal may result in criminal prosecution and a sentence of a fine and up to 5
  years in prison. There also is a civil enforcement provision that permits the
  Department to seek to enjoin a party from acting as an agent of a foreign principal
  in violation of FARA.

        This review was initiated in response to a requirement by the U.S. House of
  Representatives Committee on Appropriations that the OIG review the
  Department's enforcement of FARA. Based on this direction, our audit objectives
  were to review and evaluate the monitoring and enforcement actions taken by the
  Department to ensure appropriate registration, and to identify areas for the
  Department to consider seeking legislative or administrative improvements.

         During our audit, we found that the number of active FARA registrations
  peaked in the 1980s, with a high of 916 active registrations in 1987, and began to
  fall sharply in the mid-1990s. The Department has not performed an analysis on
  the decline, but NSD officials speculated that the imposition of FARA registration
  fees in 1993 and the passage of the Lobbying Disclosure Act (LDA), which carved
  out a significant exemption to FARA in 1995, were likely factors. In addition to the
  declining trend in registrations, we also found that there historically have been very
  few FARA prosecutions. Between 1966 and 2015 the Department only brought
  seven criminal FARA cases – one resulted in a conviction at trial for conspiracy to
  violate FARA and other statutes, two pleaded guilty to violating FARA, two others
  pleaded guilty to non-FARA charges, and the remaining two cases were dismissed.
  We were also told by NSD that the Department has not sought civil injunctive relief
  under FARA since 1991.

        In discussions with several Federal Bureau of Investigation (FBI)
  counterintelligence agents and Assistant United States Attorneys (AUSA), as well as
  NSD officials, we found differing understandings between field agents and
  prosecutors and NSD officials about the intent of FARA as well as what constitutes a


                                            i
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  “FARA case.” The primary difference stemmed from the belief of investigators that
  investigations conducted pursuant to a separate criminal provision, 18 U.S.C. § 951
  (Section 951), were FARA cases. However, NSD officials stated that unlike FARA
  and the LDA, Section 951 can be aimed at political or non-political activities of
  agents under the control of foreign governments. Although registration under FARA
  can serve as the required notification to the Attorney General under Section 951,
  the criminal activity targeted is different. According to NSD officials, who must
  approve both FARA and Section 951 cases, a true FARA case can only be brought
  pursuant to 22 U.S.C. § 611, et seq., and these officials stated that NSD currently
  is engaged in ongoing outreach activities that will help better educate investigators
  about FARA. We believe these differing understandings are indicative of the lack of
  a comprehensive Department enforcement strategy on FARA, which the
  Department should develop and integrate with its overall national security efforts.

         Further, the majority of those agents interviewed believed that NSD’s review
  of what they believed to be FARA cases was generally slow and that NSD is
  reluctant to approve these charges. Some investigators believed that NSD has a
  clear preference toward pursuing registration for alleged FARA violators rather than
  seeking prosecution, which in their opinion, leaves an important counterintelligence
  tool underutilized. NSD officials told us that they believed that even though
  criminal penalties are available under FARA, the primary goal of FARA is in fact to
  ensure appropriate registration and public disclosure. These NSD officials also
  disputed that there is any reluctance on their part to approve either true FARA or
  Section 951 cases, and stated that they approve charges when the evidence
  presented leads them to judge that a provable willful violation exists.

          Timely submission of required documentation is essential for full and
  complete public disclosure. However, we found in our testing that 62 percent of
  initial registrations were untimely, and that 50 percent of registrants filed at least
  one supplemental statement late. We also found that NSD needs to improve its
  controls and oversight of FARA registrations, particularly involving its inspections of
  registered foreign agents and enforcing the complete and timely submission of
  required documentation. Agents of foreign principals are required to maintain
  records of activities on behalf of their principal for the duration of the agreement
  and 3 years thereafter. These records are subject to inspection by the NSD’s FARA
  Unit. If an inspection identifies deficiencies in an agent’s disclosures, the FARA Unit
  advises the registrant of the deficiencies and actions required for resolution. We
  noted, however, that several inspection recommendations issued by the FARA unit
  still remained unresolved and believe that NSD can further improve its monitoring
  efforts by developing a policy to ensure appropriate resolution of recommendations
  identified in its inspection reports. NSD stressed to us that because the FARA Unit
  has limited staff and considerable responsibilities follow-up can be difficult. We
  understand this challenge but believe improvements can still be made.

         With regard to potential legislative improvements, NSD officials stated that a
  major difficulty is a lack of authority to compel the production of information from
  persons who may be agents. As a result, NSD is currently pursuing civil
  investigative demand (CID) authority from Congress in order to enhance its ability


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  to assess the need for potential agents to register. While we concur that CID could
  be a useful tool for NSD, there are important competing considerations at stake,
  and we believe that any expansion of such authority must also include appropriate
  controls and oversight to ensure it is used appropriately. Another difficulty NSD
  cited relates to the breadth and scope of existing exemptions to the FARA
  registration requirement and determining whether activities performed by certain
  groups, such as think tanks, non-governmental organizations, university and
  college campus groups, foreign media entities, and grassroots organizations that
  may receive funding and direction from foreign governments fall within or outside
  those exemptions. According to the FARA Unit, these types of organizations
  generally claim that they act independently of foreign control or are not serving a
  foreign interest and are not required to register.

         NSD officials also told us that the enactment of the LDA in 1995 may have
  contributed to the recent decline in FARA registrations. The LDA focuses on those
  engaged in lobbying activities on behalf of domestic and foreign interests and those
  agents of foreign principals who engage in lobbying activities and who register
  under the LDA, and, as a result, are exempt from registration under FARA.
  However, NSD believes that because FARA disclosure requirements are more
  rigorous than those of the LDA, those lobbying on behalf of foreign commercial
  interests should not be exempt from FARA registration. We believe that the
  development of an enforcement strategy for FARA cases should include an
  assessment of the LDA exemption and its impact to determine if legislative changes
  should be sought.

         In this report we make 14 recommendations to help improve NSD’s
  enforcement and administration of FARA. We found that several of these
  recommendations were similar to those made over the years in reports by the
  Government Accountability Office, and its predecessor the General Accounting
  Office, and by public interest organizations, and that these recommendations
  should be seriously considered if the purposes of FARA are to be fully realized.




                                            iii
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           AUDIT OF THE NATIONAL SECURITY DIVISION’S
        ENFORCEMENT AND ADMINISTRATION OF THE FOREIGN
                   AGENTS REGISTRATION ACT

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           AUDIT OF THE NATIONAL SECURITY DIVISION’S
        ENFORCEMENT AND ADMINISTRATION OF THE FOREIGN
                   AGENTS REGISTRATION ACT

                                        INTRODUCTION

         The Foreign Agents Registration Act (FARA) of 1938, as amended, requires
  persons acting as agents of foreign principals in a political or quasi-political capacity
  to make periodic public disclosure of their relationship with the foreign principal, as
  well as their activities, receipts and disbursements in support of those activities.1
  According to the Department of Justice (Department or DOJ), such disclosure
  enables the American people to evaluate the statements and activities of such
  persons in light of their function as foreign agents.

         Individuals or entities may act as agents or employees of foreign
  governments or interests on a variety of matters, including for instance lobbying a
  member or committee within Congress. FARA requires an agent, upon entering into
  an agreement with a foreign principal, to submit an initial registration to the
  Department. This registration must describe the agent registering, the foreign
  principal, the nature of work to be performed, and include a copy of the agreement
  between the agent and the associated foreign principal. These registrations must
  be filed within 10 days of an agreement to become an agent of a foreign principal,
  and the foreign agent must pay a filing fee of $305.2

        Every 6 months after the initial filing, the agent is required to submit a
  supplemental statement to the FARA Unit describing activities performed during
  that period and the amounts paid for that work. Each supplemental statement also
  requires the agent to pay an additional $305 fee for each foreign principal
  represented during the period.

         The agent also is required to submit to the FARA Unit any informational
  materials produced on behalf of the principal and transmitted to two or more
  persons within 48 hours of transmittal. These informational materials must contain
  a conspicuous statement that the materials were distributed by an agent on behalf
  of a foreign principal, and that further information is on file with DOJ.

         As discussed in detail below, there are multiple exemptions to FARA
  registration requirements, including persons whose activities are of a purely
  commercial nature or solely of a religious, scholastic, academic, scientific or fine
  arts nature, as well as attorneys engaged in legal representation of foreign
  principals so long as they do not try to influence policy at the behest of their client.
  In addition, any agent who is engaged in lobbying activities and is registered under

         1
             22 U.S.C. § 611, et seq.
         2
           Specific requirements for the registration and its submission are contained in a regulation
  promulgated by the Department, 28 C.F.R. § 5.1, et seq.




                                                    1
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  the Lobbying Disclosure Act (LDA) is exempt from registration under FARA if the
  representation is on behalf of a foreign commercial interest rather than a foreign
  government or foreign political party.3 As we discuss later in the report, there are
  different requirements for registrants under the LDA that may impact the
  Department’s efforts under FARA. LDA is administered by Congress rather than the
  Department. FARA Unit staff told us they review LDA filings, typically once a
  month, looking for potential FARA registrants. The unit looks for direction, control,
  and tasking from a foreign government. When a potential FARA obligation is found,
  the unit sends the potential registrant a letter of inquiry.

  History of FARA

          FARA was enacted in 1938 in response to recommendations of a special
  congressional committee investigating anti-American activities in the United States.
  The committee studied the rise of propaganda activity by European fascist and
  communist governments to determine whether the United States needed a new
  means to protect its citizens from political propaganda from foreign sources. A
  significant finding of the committee’s study was that the Nazi German government
  had established an extensive underground propaganda apparatus using American
  firms and citizens.

         From its passage in 1938 until amendments made in 1966, FARA primarily
  focused on propagandists. The 1966 amendments, which still form the core of the
  current Act, shifted its focus to protecting the integrity of the government’s
  decision-making process and to the identity of the sources of political propaganda.
  The 1966 amendments also narrowed the reach of FARA so that the government
  has to prove that a foreign agent is acting at the order, request, or under the
  direction and control of a foreign principal. The amendments led DOJ to allow
  persons who believe they may be subject to FARA requirements, or their attorneys,
  to request an advisory opinion from the Department regarding their obligation to
  register.4 According to FARA Unit staff, the 1966 amendments reduced the
  incidence of criminal FARA prosecutions in favor of increased civil and
  administrative resolution of FARA violations.

         The next significant legislative change affecting FARA resulted from the 1995
  passage of the LDA. Under the LDA, any agent who is engaged in lobbying activities
  and is registered under the LDA is exempt from FARA registration if the
  representation is on behalf of a foreign commercial interest rather than a foreign
  government or foreign political party. The term “political propaganda” was also
  removed from FARA and replaced with the term “informational materials,” which is
  not defined. According to FARA Unit staff, Congress believed the term
  “propaganda” to be an unnecessary remnant of the original law and believed the



        3
            2 U.S.C § 613(h).
        4
            28 C.F.R. § 5.2




                                            2
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  change to “informational materials” reflected the shift in focus to the public
  disclosure of agents engaged in the U.S. political process.

  NSD’s Administration and Enforcement of FARA

         The National Security Division’s (NSD) Counterintelligence and Export Control
  Section (CES), and its FARA Registration Unit are primarily responsible for the
  enforcement and administration of FARA. CES and the FARA Unit have been part of
  NSD since the Division’s creation in 2006. Prior to 2006, CES and the FARA Unit
  were part of the Department’s Criminal Division. The NSD maintains a publicly
  available page on the Department’s website at www.fara.gov, which contains
  information on the statute and filing requirements and contact information for the
  FARA Unit. The fara.gov webpage also contains an e-filing capability for
  registrations, a document search page that allows for public access to initial and
  supplemental registration statements and their Exhibits, and the semiannual
  reports from the Department to Congress that are required by the Act and list
  registered agents of foreign interests and their activities. FARA cases are primarily
  investigated by Federal Bureau of Investigation (FBI) counterintelligence agents
  and prosecuted by United States Attorney’s Offices (USAO) after receiving NSD
  approval as required by Section 9-90.710 of the United States Attorneys’ Manual.
  A willful violation of FARA, including false statements or omission of material facts,
  carries a penalty of a fine or imprisonment for up to 5 years, or both.

          During our audit the FARA Unit was comprised of one Unit Chief, who is also
  an attorney; two staff attorneys; one Supervisory Program Manager; one
  Intelligence Research Specialist; one Program Specialist; and two Case
  Management Specialists.5 NSD staff emphasized that this is a limited staff, which is
  responsible for a considerable range of activities. The unit is responsible for
  processing and monitoring new and existing FARA registrations on an ongoing
  basis. This includes receiving, reviewing and processing documentation and
  payments, and addressing late or inaccurate submissions. The unit also performs
  periodic formal inspections to assess the adequacy of registrant reporting and
  disclosure, and conducts open source searches to identify individuals that may be
  obligated to register. It also provides, upon request, advisory opinions to
  individuals who are unsure whether FARA registration is required of them and
  maintains foreign agent submissions in electronic and hard copy form for public
  consumption. The unit has received 14 requests for advisory opinions since the
  beginning of 2013. We inquired whether advisory opinions were made publicly
  available as an informational resource. Unit staff responded that advisory opinions
  are not made public, adding that each request is unique, opinions rely on the
  information provided by the requestor, and that advisory requests involve proposed
  activity. However we note that the Office of the Inspector General (OIG) posts
  investigative findings on its public website, and that the DOJ Criminal Division posts

         5
            One of these two staff attorneys joined the FARA Unit during our audit. At the conclusion of
  our audit we were informed that the FARA Unit was back to one staff attorney, however the unit
  planned to hire a replacement.




                                                    3
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  Foreign Corrupt Practices Act opinions as well, both in anonymized form.6 We
  believe the FARA advisory opinions may be a worthwhile informational resource,
  and recommend NSD consider whether there is value in making them publicly
  available. The FARA Unit also assists CES, FBI and USAOs with FARA-related
  investigations as needed.

         The FARA Unit Chief reports to the Section Chief of CES. As noted above, the
  U.S. Attorneys’ Manual requires NSD approval before a USAO can charge a FARA
  violation. CES reviews and approves or declines FARA charges in consultation with
  the FARA Unit.




         6
            See https://oig.justice.gov/reports/inv-findings.htm and https://www.justice.gov/criminal-
  fraud/opinion-procedure-releases.




                                                    4
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  FARA Registration Trends

         We compiled data on foreign agent registrations under FARA from 1966 to
  the present. The following charts show the number of annual active and new
  registered agents and foreign principals as of the end of each calendar year.

                                       Figure 1
                 Active Registrants and Foreign Principals per Year




  Source: www.fara.gov

                                       Figure 2
                   New Registrant and Foreign Principals per Year




  Source: www.fara.gov

         As reflected in Figures 1 and 2 above, the number of active registrations for
  foreign agents under FARA peaked at 916 in 1987. However, in the mid-1990s
  active FARA registrations began falling sharply after the imposition of fees in 1993
  and the passage of the LDA in 1995, leaving a total of 360 as of the end of 2014.
  Consequently, the number of active foreign principals also fell sharply in the mid-
  1990s from a high of 2079 in 1991, and was at 561 as of the end of 2014. New
  registrations have followed a similar trend, peaking at 157 in 1986 to a total of 66
  new registrations in 2014. Since the abrupt decline in the mid-1990s, registrations
  have continued to trend down, albeit at a more gradual pace.


                                           5
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         While no formal analysis on the decline has been performed by the
  Department, FARA Unit staff speculated that the imposition of FARA registration
  fees in 1993 and the passage of the LDA in 1995 were likely factors. While the OIG
  does not dispute that these factors played some role in declining number of FARA
  registrations, we could not definitively correlate specific causation for the declining
  trend.7

  OIG Audit Approach

         The Department of Justice Office of the Inspector General (OIG) initiated this
  audit at the request of the U.S. House of Representatives Committee on
  Appropriations, which required the OIG to review the Department’s enforcement of
  FARA. The Committee requirement specifically directed the OIG to review the
  Department’s enforcement of FARA, specifying:

          The report should take into account FARA filing trends and foreign
          government tactics to engage in public advocacy in the United States
          while avoiding FARA registration. The report shall recommend
          administrative or legislative options for the improvement of FARA
          enforcement.8

        Based on this request, the objectives of our audit were to review and
  evaluate the monitoring and enforcement actions taken by the Department to
  ensure appropriate registration, and to identify areas for the Department to
  consider seeking legislative or administrative improvements.

         We also inquired about tactics to avoid FARA registration and learned from
  the Assistant United States Attorneys (AUSA) and FBI case agents with whom we
  spoke that the impetus for FARA avoidance often appears to come not from the
  foreign principal, but from the agent, who is conscious of the need to preserve
  credibility by concealing the support of the foreign principal. FBI staff told us the
  foreign principal typically is indifferent to FARA requirements. The FARA Unit
  disagreed with the FBI staff assessment and told us that in its experience foreign
  principals are not indifferent to FARA requirements.

          To accomplish our objectives, we interviewed staff from the National Security
  Division, including its Counterintelligence and Export Control Section and its FARA
  Unit. We also interviewed AUSAs and FBI counterintelligence agents from district
  and field offices involved with FARA investigations. We also spoke with staff from
  the FBI’s Counterintelligence Division and National Security Law Branch, and with
  staff from the Department of Justice’s Office of Legislative Affairs. Lastly, we


         7
            Direct staff knowledge of the FARA Unit’s history extends back to 1984. The Unit Chief has
  been with the FARA Unit since that time.
          8
                House Report 113-448- Commerce, Justice, Science, and Related Agencies Appropriations
  Bill, 2015.




                                                      6
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  reviewed FARA registered agent documentation and FARA Unit records and
  communications.

         The results of our audit are detailed in the Findings and Recommendations
  section of this report. Appendix 1 contains more information about our objectives,
  scope, and methodology, and Appendix 2 provides information on prior reports
  conducted by both government and private organizations that have reviewed the
  Department’s administration and enforcement of FARA.

  Prior Reports

         Our research identified three prior reports prepared by the General
  Accounting Office (now known as the Government Accountability Office) that dealt
  with the administration and enforcement of the Foreign Agents Registration Act.9
  Although these reports date back to 1974, 1980, and 1990, they identified some of
  the same issues identified in this report, including timeliness and the use of
  available enforcement tools. We believe that these recommendations should be
  seriously considered if the purposes of FARA are to be fully realized. Additional
  details on these reports, as well as more recent reports produced by public interest
  organizations, can be found in Appendix 2.




           9
               There also was a 2008 GAO report that referenced certain FARA authorities as discussed
  below.




                                                      7
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                        FINDINGS AND RECOMMENDATIONS

          We found that field level agents and prosecutors expressed frustration
          as they attempted to develop FARA investigations due to the
          perception that NSD, which must concur before charges can proceed,
          is reluctant to approve FARA charges. NSD officials denied that they
          are reluctant to approve FARA charges and told us that in the few
          instances where FARA charges were proposed but not pursued it was
          due to insufficient evidence of willful conduct necessary to bring a
          FARA case. Nevertheless, NSD officials acknowledged that
          communication about why cases might not be approved can be
          improved. NSD officials also acknowledged that even though criminal
          penalties are available under FARA, it primarily views FARA as
          disclosure statute, and this could also be communicated better to field
          agents and prosecutors. We believe this is indicative of the lack of a
          comprehensive FARA enforcement strategy, which the Department
          should develop and integrate with its overall national security efforts.
          In addition, we found that FARA registrants often submitted required
          documentation late, and were not always responsive to FARA Unit
          requests and recommendations to update information and correct
          deficiencies. We also learned about several proposals developed by
          NSD for legislative improvements to FARA that could improve its
          enforcement efforts if enacted.

  Efforts to Enforce FARA

         During our audit we found that historically there have been hardly any FARA
  prosecutions. Over the past 50 years, between 1966 and 2015, the Department
  reported to us that it brought, in total, only seven criminal FARA cases – one
  resulted in a conviction at trial for conspiracy to violate FARA and other statutes,
  two pleaded guilty to violating FARA, two others pleaded guilty to non-FARA
  charges, and the remaining two cases were dismissed.10 Another was approved for
  prosecution by NSD in November 2015.11 We also found that the NSD does not
  track the number of FARA cases declined for prosecution, or the reasons for such
  declinations. Therefore, the OIG cannot determine quantitatively whether foreign
  governments employ any specific tactics to avoid FARA registration. We did,
  however, review the cases that have been filed alleging FARA violations and spoke
  to the FARA Unit Chief about this topic. The FARA Unit Chief noted that foreign
  government lobbying in the United States is not itself inappropriate or unlawful, and
  that foreign agents who are not otherwise exempt must register under FARA. While

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              According to the Department, the two dismissed FARA cases resulted from a statute of
  limitations issue, and the resignation of the principal prosecutor handling the case, respectively.
          11
             In addition to criminal penalties, FARA allows the Department to seek civil injunctive relief
  when it identifies a foreign agent it believes to be in violation of the statute. The last civil
  enforcement action by NSD occurred in 1991. As explained in further detail in this report, NSD has
  been reluctant to pursue civil injunctive relief since that time.




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  foreign governments may be creative in their attempt to influence U.S. policy and
  sway public opinion, if it is done in a way that does not create a statutory agency
  relationship on the part of the agent acting within the United States at the direction
  or control of the foreign government, then there is no agent of a foreign principal
  with an obligation under FARA.

  FARA Criminal Investigations and Prosecutions

         We learned that the focus of the FARA Registration Unit’s enforcement efforts
  is encouraging voluntary compliance, rather than pursuing criminal or civil charges.
  Conversely, we found that FBI and USAO staff members with whom we spoke are
  actively pursuing FARA criminal charges. FBI staff told us they believe this to be an
  effective tool carrying sufficient penalties to deter foreign principals from exerting
  undisclosed influence, or to compel the development of cooperating sources.
  Although NSD officials disagreed with the assessment offered by these FBI staff
  members, we believe this disagreement reflects the lack of a comprehensive
  Department enforcement strategy, and a lack of mutual understanding and clarity
  in enforcement goals as discussed in greater detail below.

          This was confirmed when we spoke about the process for pursuing FARA
  prosecutions with NSD officials, as well as FBI counterintelligence agents and
  AUSAs with experience investigating FARA cases. During these discussions we
  found differing understandings between field agents and prosecutors and NSD
  officials about the intent of FARA as well as what constitutes a prosecutable FARA
  case. Most notably, when we discussed FARA with FBI personnel, we found that
  they considered a “FARA case” to be a case investigated pursuant to either the
  FARA, 22 U.S.C. § 611, et seq., or 18 U.S.C. § 951 (Section 951), which is the
  federal statute that provides criminal penalties for certain agents of foreign
  governments who act in the United States without first notifying the Attorney
  General.12 Unlike Section 951, FARA requires agents of foreign principals engaged
  in legal political or quasi-political activities such as lobbying, government and public
  relations, tourism promotion, and foreign economic development activities in the
  United States to register and make detailed disclosures of their activities in the
  United States conducted on behalf of their foreign principals.13

        By contrast, Section 951 was described to us by the NSD as “espionage lite”
  because a Section 951 case generally involves espionage-like or clandestine
  behavior or an otherwise provable connection to an intelligence service, or
  information gathering or procurement-type activity on behalf of a foreign
          12
             According to NSD, notification under Section 951 may be made by registration under FARA
  in circumstances where the activity requiring notice is disclosed on the FARA registration form.
          13
              Political activities are defined by the statute as “any activity that the person engaging in
  believes will, or that the person intends to, in any way influence any agency or official of the
  Government of the United States or any section of the public within the United States with reference
  to formulating, adopting, or changing the domestic or foreign policies of the United States or with
  reference to the political or public interests, policies, or relations of a government of a foreign country
  or a foreign political party.”




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  government. Although FARA registration can serve as the required notification to
  the Attorney General under Section 951, NSD officials told us FARA and Section 951
  involve different sets of elements and different types of issues. According to NSD
  officials, only 22 U.S.C. 611 et seq. constitutes a FARA case. Nevertheless, NSD
  officials acknowledged the differing views on what constitutes a FARA charge and
  are currently engaged in an ongoing effort to better educate field investigators and
  prosecutors on the difference. However, in reviewing the training developed by
  NSD we noted that it did not appear to include specifics on how FARA cases would
  gain approval to proceed from NSD or what is included in case reviews to give
  agents and prosecutors an understanding of the length of time needed for such
  reviews. We therefore recommend that NSD update its current training for
  investigators and prosecutors to include information about the time it takes and the
  process used by NSD to approve or deny these cases for prosecution.

          We asked the FBI for data about FARA cases presented and not prosecuted,
  but we were told by the FBI that their case coding commingles both FARA and
  Section 951 cases. Therefore, we were unable to isolate cases presented under
  FARA alone. We believe segregating these two types of cases in the FBI’s
  classification codes may help advance NSD’s efforts to clarify the distinction for
  case agents, and we recommend NSD discuss the feasibility of this with the FBI.

         In addition, the majority of FBI field personnel we interviewed believed that
  NSD’s review of FARA cases was generally slow and that NSD is reluctant to
  approve FARA charges, although these individuals generally speculated as to why
  NSD might be reluctant. We found that the NSD does not track the timeliness of its
  handling of FARA referrals, with the general view that the matters will take as long
  as they take. One person from the FBI with whom we spoke told us that, as a
  result, what could be an extraordinarily effective tool has instead become a point of
  contention and frustration, and found not just a lack of support from NSD, but
  “negative support.” Some FBI personnel we spoke with told us that CES generally
  appeared to lack confidence in FARA because it was too seldom used or too difficult
  to prosecute. Most personnel from the FBI however told us that they came away
  from their interactions frustrated with CES because they were not given any
  explanation from CES as to why what they believed to be solid evidence of a FARA
  violation was declined for prosecution.14 Some of these agents noted that NSD has
  a clear preference toward pursuing registration for alleged FARA violators rather
  than seeking prosecution, in keeping with its voluntary compliance approach. FBI
  and USAO staff we spoke with told us that they have been asked, repeatedly in
  some instances, to solicit voluntary registration from targets of investigations
  despite the fact that it is evident to the investigators that the target has no
  intention of complying. NSD officials denied this and stated that the FARA Unit is
  unaware of any instance in which it requested the FBI or any USAO to ask the
  target of an ongoing criminal investigation to register.


         14
            Cf. USAM 9-27.270(A), providing that attorneys from the government should ensure that
  the reasons for declinations are communicated to the investigative agency and documented in the file.




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         Further, FBI personnel with whom we spoke believed that FARA carries a
  penalty sufficient enough to serve as a deterrent to both the agent and his foreign
  principal or to induce the target of an investigation to become a cooperating source.
  These agents felt that the Department’s reluctance to bring charges in FARA cases
  resulted in missed opportunities to deter agents of foreign principals from criminal
  or other misconduct or to obtain valuable cooperation. Some staff with whom we
  spoke expressed concern about case agent morale and discouragement toward
  pursuing future FARA investigations as a result of this reluctance.

         We also heard frustration expressed from FBI and AUSAs with respect to the
  parameters of CES’ approval authority. For example, in one instance, we were told
  that CES cited jury appeal as a factor in declining a FARA prosecution. The AUSAs
  and FBI staff we spoke to about this expressed doubt whether it was appropriate
  for CES to overrule local prosecutors, who were in a much better position to assess
  the jury appeal of a case in their local jurisdiction, on this basis. NSD disagreed
  with this view, and told us that in any circumstance where NSD has approval
  authority, it must reach a conclusion by assessing prosecution risk as per the
  U.S. Attorney’s Manual to obtain and sustain a conviction. Among the matrix of
  factors it considers are how a case is presented, and the risk of jury nullification.

         We also noted that some of the AUSAs and FBI personnel with whom we
  spoke recognized the value of CES’ role in the process and, in particular, stated CES
  can provide sound judgment, experience, and expertise when evaluating FARA
  investigations. Some also praised the new leadership at CES for its willingness to
  be more candid and communicative with the FBI and the USAOs.

         CES officials acknowledged to us that even though criminal penalties are
  available under FARA, the primary goal of FARA is in fact to ensure appropriate
  registration and public disclosure. These NSD officials also disputed that there is
  any reluctance on their part to approve FARA criminal charges (or Section
  951 charges), and stated that criminal charges are approved when the evidence
  presented leads them to judge that a provable criminal violation has occurred. NSD
  also stated that criminal FARA cases are difficult to prove because prosecutors
  under FARA must demonstrate both willfulness on the part of the accused to avoid
  registration or to make a false statement or omission in their filings, and that the
  agent was directed and controlled by a foreign principal. Though we do not dispute
  these difficulties, we found that there was not a coordinated strategy on FARA
  enforcement at the Department and, in particular, there was no strategy addressing
  how FARA fits into the Department’s overall national security efforts. We therefore
  recommend that the Department develop a comprehensive strategy for the
  enforcement and administration of FARA that includes the agencies that perform
  FARA investigations and prosecutions and integrates with the Department’s overall
  national security efforts. We also recommend that the NSD ensure that it informs
  investigators and prosecutors in a timely fashion of the reasons for which FARA
  cases are not approved.

        In addition, because NSD does not track the number of cases it receives for
  enforcement consideration, we recommend that it maintain information on the


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  number of cases submitted for review, the amount of time such review takes, and
  the final determination made on the case. We believe this will enable the
  Department to assess and improve its handling of FARA cases. In particular, trends
  could be determined regarding what case information has been used to move
  forward with prosecutions, or whether NSD is making determinations on a timely
  basis.

  Civil Enforcement of FARA

         In addition to criminal penalties, FARA allows the Department to seek civil
  injunctive relief when it identifies a foreign agent it believes to be in violation of the
  statute. In order to seek injunctive relief, the Attorney General may petition the
  appropriate U.S. District Court for an order temporarily or permanently disallowing
  the alleged foreign agent from acting as an agent of a foreign principal. This type
  of remedy could be sought in instances where an alleged agent failed to register or
  was delinquent in filing their supplemental statements. It could also be used in
  instances where a registered foreign agent fails to address recommendations
  stemming from an inspection by the FARA Unit.

         When we inquired about the Department’s use of injunctive relief, we were
  told that it has not made use of the remedy since 1991, for several reasons. First,
  according to FARA Unit staff, in order to pursue a petition seeking to enforce
  registration, the Department must have specific evidence of foreign direction and
  control to be successful. According to these staff members, it is rare that such
  evidence exists. In addition, we were told that, as a matter of practice, before the
  unit would seek injunctive relief that will require registration or remedying
  delinquent filings, it would have to have sought voluntary registration and received
  a direct refusal. According to the FARA Unit, they do not typically encounter such
  scenarios.

         FARA Unit staff also told us that the unit sought authority to impose civil
  fines for delinquencies twice in the 1990s, without success. However, current staff
  added that they would be reluctant to seek civil fines at present because it would
  be counterproductive in that it could serve as a deterrent to disclosure to seek fines
  for lateness against a registrant who is otherwise in compliance with FARA, and it
  would add administrative costs to the unit’s work.

         Nevertheless, based on the widespread delinquencies we found, we believe
  that there may be circumstances in which an injunctive remedy or other penalty is
  merited. For instance, as discussed later in this report, when we reviewed FARA
  Unit inspection reports from 2008 to 2014, we found instances where the unit
  issued recommendations to the registrant requesting submission of late
  supplemental statements; however, the requested supplemental statements do not
  appear in the FARA database, and appear to remain delinquent despite the
  inspection and notification of the deficiencies. Although we are not questioning that
  NSD needs to have the ability to use its discretion when deciding whether to pursue
  criminal penalties or an injunctive remedy against an alleged violator of FARA, we




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  believe NSD should ensure that it appropriately utilizes all of the enforcement tools
  available to it.

  Administration and Monitoring of FARA Registrations

         The FARA Unit is responsible for the monitoring of new and existing FARA
  registrations on an ongoing basis. This includes receiving, reviewing and
  processing documentation and payments, and addressing late or inaccurate
  submissions. As of the end of calendar year 2014, the FARA Unit was responsible
  for a foreign agent registrant pool of 360 agents representing 561 foreign
  principals. We tested documentation dating back to 2013 from a judgmentally
  selected risk-based sample of 78 FARA registrants, representing approximately
  22 percent of the total, to evaluate the effectiveness of the FARA Unit’s monitoring
  efforts. Generally, we found that the required documents were complete.
  However, we also found that documents were routinely submitted late, and in some
  instances registrants had ceased submitting required documentation entirely.
  These findings are further detailed in the sections below.

  Identifying Potential Registrants

         The FARA Unit attempts to identify and make contact with individuals or
  entities that may have an obligation to register under FARA. Identification is made
  primarily through review of a range of publications, web sites, and LDA filings for
  indications of a connection between a potential agent and a foreign principal.
  Potential registrants may also be identified through review of existing registrant
  information, or through referral from other government offices or agencies, or from
  the public.

          When a potential obligation to register is found, the unit issues a letter of
  inquiry to the potential registrant advising of FARA requirements, and requests
  additional information relevant to registration status. The FARA Unit has found that
  most of the recipients of such letters responded within what it has considered to be
  a reasonable amount of time and either register or offer what the unit finds to be
  sufficient explanation that FARA requirements do not apply to them. If there is no
  response to the letter, a seemingly false response, or another reason to believe a
  significant FARA offense has been committed, FARA personnel will refer the matter
  to the FBI.

         The FARA Unit stated it has issued approximately 130 letters of inquiry over
  the past ten years. Thirty-eight of the recipients were found to have an obligation
  to register under FARA, and subsequently did so. The remaining recipients were
  found to either have no obligation to register, or the FARA Unit is continuing to seek
  additional information to make a determination.

  New Registrations

         Thirteen of the 78 agent files from 2013 to 2015 that we reviewed had
  registrations that were initiated after January 1, 2013. We considered these to be


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  “new” registrations for testing purposes, and they were filed as such. However, we
  found that only 3 of these 13 registrations, or 23 percent, were submitted within 10
  days of the underlying contract’s execution as required by FARA. Eight of the 13
  registrations, or 62 percent, were submitted late; with the lateness ranging from 7
  to 343 days. The remaining two agent files involved verbal agreements with no
  contract execution date provided to the FARA Unit.15 Without the contract
  execution dates, which NSD does not require, we could not assess the timeliness of
  these two registrations.16

        Timely submission of initial registration documentation is essential for full
  and complete public disclosure of foreign agents engaged in the U.S. political
  process on behalf of foreign principals. However, we understand that it is difficult
  for NSD to ensure the timely registration of a foreign agent when it has no easy
  independent way to know of the foreign agent’s obligation to register.

  Supplemental Statements

         Every 6 months after their initial registration, a foreign registered agent must
  submit a supplemental statement describing activities performed and sums
  transacted during that period. We found that 34 of 78 (44 percent) foreign agents
  we reviewed submitted supplemental statements in a timely manner - however
  half, 39 of 78, did not.17 Of these 39, 8 (10 percent of the total) had not submitted
  any supplemental statements since January 1, 2013. FARA Unit staff believed that
  the registered agents who ceased filing supplemental documentation likely
  concluded their work for the foreign principal, but either neglected to formally
  inform the FARA Unit of the termination or were unaware of their obligation to do
  so, although 28 C.F.R. 5.205 includes a requirement to notify the FARA Unit of such
  termination. However, the possibility remains that these registrants may still be
  active.

        In addition to the 8 agents who had not filed at all since January 2013, we
  found that 4 other agents in our sample had filed previously during that period, but
  were more than 6 months delinquent as of the end of 2014. In total, 12 of the 78
  (15 percent) of active agents we reviewed had ceased filing altogether or were over
  six months delinquent. For these delinquent agents, we found that the FARA Unit
  sent delinquency notices periodically, but the notices did not appear to be sent
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              FARA Unit personnel told us that they typically do not seek to impose any penalties such as
  late fees in such instances because they would rather see a complete submission sent in late than an
  incomplete one sent in on time.
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              During discussions with the FARA Unit about enhancements to its electronic filing system,
  we suggested adding a field requiring registrants to enter a date for verbal agreements, in order that
  adherence to the ten day requirement for such agreements may be assessed going forward. FARA
  Unit staff agreed to consider this.
         17
             Five of the foreign agents we reviewed had terminated their contracts as of January 1,
  2013, and were not required to submit supplemental statements during our testing period. These five
  contained anomalies – duplicate registrations, terminated registration with active short forms, etc., –
  that caused us to include them in the sample.




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  consistently or on a regular schedule. FARA Unit staff told us they are working on a
  standardized system for batching and sending delinquency notices at regular
  intervals. This effort was still in development at the time of our audit and we
  recommend that the FARA Unit ensure the system is completed and implemented.

          In addition to ensuring consistency when sending delinquency notices, we
  recommend that NSD develop a policy and procedures that ensure that registration
  files are timely closed and that it fully investigates when agents cease meeting their
  supplemental filing obligations for an extended period of time. We believe that
  enhancing the sources of information available to the Unit as discussed above will
  facilitate such efforts.

  Registration of New Contracts

         Registered agents under contract with a particular foreign principal may
  periodically enter into additional contracts with different foreign principals. In the
  78 foreign agent files we reviewed, we found a total of 86 ‘new business’ contracts.
  We found that 34 of the 86 new contracts were registered timely, but 49 of the 86
  (57 percent) were not.18 Further, we found that the late contract registrations were
  submitted an average of 57 days past the ten day requirement specified in FARA,
  ranging from 4 to 251 days late, even though these agents would have been
  familiar with the requirements and process from prior registrations. We
  recommend that the FARA Unit should consider expanding the sources of
  information beyond those it currently uses to locate potential or delinquent foreign
  agents, currently limited to open source internet and LexisNexis searches.

  Filing of Informational Materials

         FARA does not limit the lobbying activity or the nature of the materials
  distributed by agents of foreign principals, but it does require that such agents file
  with the Department any informational materials produced on behalf of their
  principal, and transmitted to two or more persons, to the FARA Unit within 48 hours
  of the beginning of transmittal. These informational materials must contain a
  conspicuous statement that the materials are distributed by an agent on behalf of a
  foreign principal, and that further information is on file at the Department of
  Justice.

         We tested informational materials submitted by the 78 agents of foreign
  principals we reviewed to determine if the documentation was submitted within the
  48 hour requirement and included the required disclosure statement. We identified
  a total of 1,278 pieces of informational material, 780 pieces of which were
  submitted by one agent, and 498 of which were submitted by the other 77 agents.
  It appears that many of the one agent’s submissions were late because they were
  batched and mailed monthly without apparent regard to the date and time of

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           We could not determine the timeliness of three of the contracts because they were verbal
  agreements and no date of execution was provided to the FARA Unit.




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  transmission to the recipients, although each contained the requisite disclosure
  statement. As for the 498 pieces of information submitted by the other 77 agents,
  we found that only 457 included a date and time of transmittal to the recipients.
  The remaining 41 did not, which made determining timeliness for them impossible.
  Of the 457 pieces of informational materials with an identifiable transmittal date
  and time, we found that 179 (39 percent) were submitted timely within 48 hours of
  transmittal, but 278 (61 percent) were not. We also found that almost half or
  234 of the 498 items of information materials (47 percent) did not include the
  required disclosure statement. We believe that these compliance rates are
  unacceptable, and that the FARA Unit and the Department need to either take steps
  to improve them to achieve the purposes of the Act or, if the Unit considers the
  standard unreasonable, pursue appropriate modifications. We discuss potential
  modifications to informational materials requirements below.

  FARA Inspections of Existing Registrants

          Registered foreign agents are required by FARA and its implementing
  regulation to maintain accounts and records of their activities on behalf of their
  principals and make the records available for inspection by NSD for the duration of
  the agreement and for 3 years thereafter. The FARA Unit conducts these formal
  inspections of FARA registrants and told us that it selects files to review based on
  multiple factors, such as deficiencies identified during the initial review, delinquent
  filings, suspected undisclosed activities, and information drawn from news or law
  enforcement sources. An inspection involves review of all the registrant’s activity
  files, correspondence, accounting records, invoices, and receipts related to the
  agent’s representation of the foreign principal. If the FARA Unit finds deficiencies in
  an agent’s disclosures, it will summarize its findings and advise the registrant of the
  deficiencies and provide recommendations for correcting them.

         We inquired about the number of inspections conducted since 2000 and
  found that the FARA Unit conducted a total of eight inspections from 2000 through
  2007. From 2008 through 2014, the Unit completed 87 inspections, and the
  current target is to perform 14 inspections per year. We believe the higher rate of
  inspections performed since 2008 is a positive development and, having reviewed
  recent inspection reports and the worthwhile recommendations they have
  produced, we encourage the FARA Unit to continue to maximize its inspection
  efforts.

         However, we noted during our review of the 87 inspections conducted since
  2008 that insufficient follow-up was performed on several recommendations made
  by the FARA Unit, and that the deficiencies identified and communicated to
  registrants in these recommendations remained unresolved as of the time of our
  audit work. Specifically, we found 11 inspection reports (12.6 percent) which
  recommended submission of documentation such as amendments or delinquent
  supplemental statements; however we found the requested documentation was not
  posted to the FARA web site as of January 2016. We found an additional two
  inspection reports for which requested documentation was not submitted until well
  over a year after the inspection date. NSD stressed to us that because the FARA


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  Unit has limited staff and considerable responsibilities follow-up on inspection
  reports can be difficult. We understand this challenge but believe improvements
  can still be made. We recommend that NSD further improve its overall monitoring
  efforts by developing a policy and practices that ensure appropriate and timely
  follow-up and resolution of findings identified in its inspection reports.

  Other Possible Legislative Improvements that the Department Might Seek

        Throughout this audit we discussed with NSD and FBI officials whether there
  were any legislative improvements that the Department might seek to FARA that
  would help in its efforts to administer and enforce the law. The FBI did not have
  any suggestions but the NSD officials indicated that in recent years they have
  pursued some key legislative changes to FARA, but these efforts have largely been
  unsuccessful.

         One area that was identified as a possible subject for such amendments is
  the statutory exemptions to FARA’s registration requirement. There are a number
  of statutory exemptions to FARA registration requirements, which were summarized
  on the NSD website as of January 2016 as follows:

        Diplomats and officials of foreign governments, and their staffs, if properly
         recognized by the U.S. State Department.
        Persons whose activities are of a purely commercial nature or solely of a
         religious, scholastic, academic, scientific or fine arts nature.
        Certain soliciting or collecting of funds to be used for medical aid, or for food
         and clothing to relieve human suffering.
        Lawyers engaged in legal representation of foreign principals in the courts or
         similar type proceedings, so long as the attorney does not try to influence
         policy at the behest of their client.
        Any agent who is engaged in lobbying activities and is registered under the
         Lobbying Disclosure Act if the representation is on behalf of a foreign
         commercial interest rather than a foreign government or foreign political
         party.

          NSD officials indicated to us that broadly worded exemptions make criminal
  or civil enforcement difficult, though they did not propose any specific changes to
  these categories. We believe that this is an area that the Department should
  examine to determine if additional refinement of these categories is warranted.

  The Lobbying Disclosure Act and FARA

         FARA Unit staff believed that the passage of the Lobbying Disclosure Act
  (LDA) in 1995 contributed to the steep decline in FARA registrations in the years
  that followed. We were told that because the LDA allowed agents representing
  foreign commercial interests to register as lobbyists under LDA, rather than as



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  foreign agents under FARA, FARA is now largely limited to those who represent
  foreign governmental and political party interests.

         In the FARA Unit’s judgment, registration and disclosure requirements under
  the LDA are less stringent and result in less transparency than FARA, specifically
  with respect to funds transacted and activities performed. In addition, unlike FARA,
  lobbyists with income or expenses below certain thresholds are not required to
  register under LDA. If a lobbyist representing a foreign commercial interest does
  not meet LDA thresholds, that lobbyist may have no obligation to register under
  either statute, because the activity serves a commercial rather than foreign
  governmental or political interest. Moreover, the LDA is administered by the
  Congress and, according to the FARA Unit, the LDA staffs who reside in the U.S.
  Senate and U.S. House of Representatives do not perform inspections of
  registrants, as the FARA Unit does for FARA registrants. FARA Unit staff also
  expressed concern that because of the LDA amendments to FARA, foreign
  governmental and commercial interests, which are not always as distinct from one
  another as in the United States, could use LDA as a loophole to avoid FARA
  registration and disclosure, even though they are acting under the direction and
  control of a foreign government.

        NSD officials believe that Congress should act and once again require those
  who lobby for foreign commercial interests to register under FARA. We agree with
  the concern that foreign governmental and commercial interests overseas may not
  always be distinct and we recommend that NSD perform a formal assessment of
  the LDA exemption, along with the other current FARA exemptions and determine
  whether a formal effort to seek legislative change is warranted.

  Civil Investigative Demand Authority

          As discussed above, one of the tasks for the FARA Unit is to locate foreign
  agents who may have an obligation under FARA but either knowingly or
  unknowingly fail to register. The FARA Unit told us that, when it successfully
  identifies a potential agent, it can sometimes be difficult to obtain the necessary
  information the FARA Unit needs to determine whether registration is required.
  Civil investigative demand authority (CID) allows the Department to compel the
  production of records, or response to written interrogatories or oral testimony
  concerning such records. The Department submitted legislative proposals seeking
  CID authority for the FARA Unit in 1991, and again in 1999. A GAO report in 2008
  also recommended CID authority for the FARA Unit.19 However, the Department’s
  attempts to obtain this authority in 1991 and 1999 were unsuccessful. Neither NSD
  officials nor the Department’s Office of Legislative Affairs could offer an opinion as
  to why these efforts were unsuccessful; however, FARA Unit staff did provide some
  insight as to how this authority could help it better determine when FARA violations
  are occurring, specifically identifying think tanks, non-governmental and grass roots

         19
            U.S. Government Accountability Office, Post-Government Employment Restrictions and
  Foreign Agent Registration, GAO-08-855 (July 30, 2008).




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  organizations, organizations operating on college or university campuses, and
  foreign media outlets operating in the United States as potential registrants as to
  which it can be difficult to obtain information for a variety of reasons. Such
  organizations may receive funding from foreign governments and subsequently
  take public political positions that are favorable to those governments. According
  to the FARA Unit, these types of organizations generally claim that they act
  independently of foreign control or are not serving a predominantly foreign interest
  and are not required to register.

         The FARA Unit has identified the above as its primary enforcement challenge,
  and believes CID is vital in determining whether FARA violations are occurring. We
  do not dispute that CID authority would provide FARA Unit staff with a very useful
  additional tool in in its efforts to administer and enforce FARA. However, we
  believe CID authority is a powerful authority that can be subject to overreach and
  abuse if left unchecked, and which cannot be allowed to be used to overcome
  legitimate and important legal protections and interests. Therefore, we believe that
  any such expansion of CID authority would have to include rigorous controls and
  oversight to ensure that it is being used appropriately.

  Process for Filing Informational Materials

          As discussed earlier in this report, FARA requires registrants who transmit
  informational materials on behalf of their foreign principal to appropriately mark
  that material and file it with the Department of Justice within 48 hours of the
  beginning of transmittal. The FARA Unit told us that the term “informational
  materials,” which replaced the term “propaganda” in 1995, is not formally defined
  in the Act or its implementing regulation. As a result, the FARA Unit has developed
  its own working definition of what constitutes informational materials in order to
  fairly advise registrants of the requirements. However, without a statutory
  definition of the term “informational materials,” the FARA Unit cannot be certain it
  is satisfying Congressional intent for FARA.

         Additionally, the FARA Unit believes that advances in information technology
  have made the 48-hour rule outdated. Registered foreign agents now send out
  informational materials via Twitter and other social media on a near-continuous
  basis. Trying to enforce the requirement for them to submit all of these materials
  in hard copy within 48 hours of dissemination creates a constant and unrealistic
  burden on registrants to submit materials, and on FARA personnel to police their
  submissions. Allocating resources to enforcing the 48 hour rule also would
  consume a disproportionate amount of time on the part of FARA unit, often to the
  detriment of other crucial aspects of their work. FARA Unit staff also told us that
  informational materials mailed via the U.S. Postal Service in hard copy must pass
  through screening prior to delivery. This often results in submissions being delayed
  for weeks or longer before arriving at the FARA Unit’s office. The FARA Unit
  believes that the statute should be amended to allow registrants to compile
  informational materials and submit them semi-annually with each supplemental
  statement.




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         Lastly, the FARA Unit believes that the labeling requirement needs to be
  updated to address the internet and social media as means of conveying
  informational materials. Twitter, for instance, allows a limited number of characters
  per message, and the FARA Unit told us that registrants find it impractical to
  include the disclaimer within these types of messages.

         We believe the Department should continue to consider whether to seek
  legislative changes to address these and other issues as identified in this report
  consistent with the requirements of FARA and other laws.

  Resources

          FARA Unit staff told us that budget and staffing have improved since moving
  from the Criminal Division to NSD in 2006, and that these additional resources have
  allowed the unit to develop new technologies. The FARA Unit staff spends a
  significant amount of the time on the collection and processing of FARA filing fees.
  FARA fees were first imposed on FARA registrants in 1993. As noted above, the
  FARA Unit believed that this imposition of fees contributed, at least in part, to the
  substantial decline in registrations that began in the mid-1990s. In addition, we
  learned that a proposal to increase FARA fees in 2010 was declined by NSD due to
  concerns that it would deter registrations. Fee collections have also been declining
  along with registrations since their imposition, and in 2014 totaled only $283,441
  according to FARA Congressional reporting. Because of limited staffing, other
  priorities, and the possibility that fees may serve as a deterrent to registration, we
  believe it is possible that the overall cost of the time spent collecting and processing
  fees may not be justifiable. We therefore recommend that NSD conduct a formal
  cost-benefit analysis to determine whether the current FARA fee structure is
  appropriate or whether it should seek modifications in the future.

  Tools and Technologies

         Since joining NSD in 2006, there have been significant improvements to the
  tools and technologies used to ensure foreign agents comply with FARA. In 2007,
  the FARA Unit established a searchable online database of disclosure documents.
  In 2011, an e-file application was established that allowed registrants to register
  and file documentation online. We were told that the application is currently being
  updated to implement other improvements that will standardize and eliminate
  redundant entry of information, improve search capability, and ensure
  completeness of submissions. It will provide a more user-friendly, interactive
  guided interview process for entering forms, and the improved application will mask
  from public view personally identifiable information required on certain forms.
  Previously, registrants had to formally request removal of this information from the
  publically available forms.

         We believe the e-file application improvements are a positive development.
  As discussed above, we also believe the application presents opportunities to allow
  the FARA Unit to better manage and improve the timeliness of registrant
  submissions, and that it should be developed with this in mind in addition to the


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  other opportunities it presents. We therefore recommend that NSD include
  improvement of timeliness as an objective in the development of the e-file system,
  to include requiring execution dates for all contracts.

  Conclusion

          We found that FARA registrants are frequently late in submitting required
  documentation and are often unresponsive to FARA Unit requests to update their
  information. Because timely and complete disclosure of foreign agent political and
  quasi-political activities are central to the act, we believe the FARA Unit should be
  more proactive and assess whether additional tools may be available to assist it in
  its efforts to identify and monitor these foreign agents. With regard to proposed
  criminal FARA charges, investigators and prosecutors believe that a greater effort
  should be made by NSD officials to improve communication, transparency, and
  responsiveness regarding approval decisions. We believe that there may well be
  room for the Department to make use of the civil injunctive provision in FARA in
  appropriate cases. To help address this we believe that the Department should
  develop a comprehensive enforcement strategy for FARA that fits within its overall
  national security effort. There also are a number of areas where the Department
  should consider whether to seek administrative or legislative changes to enhance its
  efforts to enforce FARA and achieve the purposes for which it was enacted into law.

  Recommendations

  We recommend that the National Security Division:

       1.   Consider the value of making FARA advisory opinions publicly available
            as an informational resource.

       2.   Update its current training for investigators and prosecutors to include
            information about the time it takes and the process used by NSD to
            approve or deny these types of cases for prosecution.

       3.   Explore with the FBI the feasibility of distinct classification codes for
            FARA and Section 951 in its record keeping system.

       4.   Develop a comprehensive strategy for the enforcement and
            administration of FARA that includes the agencies that perform FARA
            investigations and prosecutions and that is integrated with the
            Department’s overall national security efforts.

       5.   Ensure that it timely informs investigators and prosecutors regarding
            the reasons for decisions not to approve FARA prosecutions.

       6.   Establish a comprehensive system for tracking the FARA cases
            received for review, including whether cases are approved for further
            criminal or civil action, and the timeline for approval or denial.




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       7.   Complete its effort to standardize a system for batching and sending
            registration delinquency notices at regular intervals, and develop
            policy and procedures that ensure appropriate follow up on them.

       8.   Develop a policy and tracking system that ensures that registration
            files are timely closed and that when agents cease meeting their
            supplemental filing obligations for an extended period of time an
            appropriate investigation is conducted.

       9.   Consider expanding the sources of information beyond those currently
            used by the FARA Unit to help identify potential or delinquent foreign
            agents, currently limited to open source internet and LexisNexis
            searches.

       10. Either take steps to improve the compliance rates for the filing of
           informational materials to achieve the purposes of the Act or, if the
           Unit considers the current 48-hour standard unreasonable, pursue
           appropriate modifications.

       11. Ensure appropriate and timely follow-up and resolution of findings
           identified in its inspection reports.

       12. Perform a formal assessment of the LDA exemption, along with the
           other current FARA exemptions and determine whether a formal effort
           to seek legislative change on any of these exemptions is warranted.

       13. Conduct a formal cost-benefit analysis to determine whether the
           current FARA fee structure is appropriate.

       14. Include improvement of timeliness as an objective in the development
           of the e-file system, to include requiring execution dates for all
           contracts.




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                    STATEMENT ON INTERNAL CONTROLS

         As required by the Government Auditing Standards, we tested, as
  appropriate, internal controls significant within the context of our audit
  objectives. A deficiency in an internal control exists when the design or operation
  of a control does not allow management or employees, in the normal course of
  performing their assigned functions, to timely prevent or detect: (1) impairments
  to the effectiveness and efficiency of operations, (2) misstatements in financial or
  performance information, or (3) violations of laws and regulations. Our evaluation
  of internal controls was not made for the purpose of providing assurance on the
  Department’s internal control structure as a whole. The Department and the
  individual components discussed in this report are responsible for the establishment
  and maintenance of internal controls.

         Through our audit testing, we did not identify any deficiencies in the National
  Security Division’s internal controls that are significant within the context of the
  audit objectives and based upon the audit work performed that we believe would
  affect the National Security Division’s ability to effectively and efficiently operate, to
  correctly state financial and performance information, and to ensure compliance
  with laws and regulations.

         Because we are not expressing an opinion on the Department’s internal
  control structure as a whole, this statement is intended solely for the information
  and use of the Department and the individual components discussed in this report.
  This restriction is not intended to limit the distribution of this report, which is a
  matter of public record.




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         STATEMENT ON COMPLIANCE WITH LAWS AND REGULATIONS

         As required by the Government Auditing Standards we tested, as appropriate
  given our audit scope and objectives, selected statistics, procedures, and practices
  to obtain reasonable assurance that NSD complied with federal laws and regulations
  for which noncompliance, in our judgment, could have a material effect on the
  results of our audit. NSD is responsible for ensuring compliance with applicable
  federal laws and regulations. In planning our audit, we identified the following laws
  and regulations that were significant within the context of the audit objectives:

         22 U.S.C. § 611, et seq. (Foreign Agents Registration Act)
         18 U.S.C. § 951
         2 U.S.C. § 1601, et seq. (the Lobbying Disclosure Act of 1995)
         28 C.F.R. § 5.1, et seq.

          Nothing came to our attention that caused us to believe that the Department
  or its components discussed in this report were not in compliance with the
  aforementioned laws and regulations.




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                                                                        APPENDIX 1


                   OBJECTIVES, SCOPE, AND METHODOLOGY

  Objectives

         The U.S. House of Representative Committee on Appropriations requested
  that the OIG review the Department of Justice’s enforcement of the Foreign Agents
  Registration Act.20 The Committee requested that the report should take into
  account FARA filing trends and foreign government tactics to engage in the public
  advocacy of the United States while avoiding FARA registration, and that the report
  should recommend administrative or legislative options for the improvement of
  FARA enforcement.

        The objectives of our audit were to review and evaluate the monitoring and
  enforcement actions taken by the Department to ensure appropriate registration,
  and to identify areas for the Department to consider seeking legislative or
  administrative improvements.

  Scope and Methodology

         We conducted this performance audit in accordance with generally accepted
  government auditing standards. Those standards require that we plan and perform
  the audit to obtain sufficient, appropriate evidence to provide a reasonable basis for
  our findings and conclusions based on our audit objectives. We believe that the
  evidence obtained provides a reasonable basis for our findings and conclusions
  based on our audit objectives.

         To accomplish our objectives, we interviewed staff from National Security
  Division, including the Counterintelligence and Export Control Section and its FARA
  Unit. We also interviewed Assistant U.S. Attorneys and FBI counterintelligence
  agents from all of the district and field offices involved with each FARA investigation
  we learned of. We spoke with staff from the FBI’s Counterintelligence Division and
  National Security Law Branch and with staff from the Department’s Office of
  Legislative Affairs. We also reviewed FARA registered foreign agent documentation,
  as well as FARA Unit records and communications.

         We attempted to meet with the Clerk of the House and Secretary of the
  Senate staffs to obtain their views on the Lobbying Disclosure Act issue identified in
  this report and to learn about any best practices for registrant management and
  oversight. They instead offered to review and try to answer specific questions in
  writing, but given time constraints we were not able to pursue that option further.




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             U.S. House Committee Report Committee Report 113-448.


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  FBI and USAO Interviews

         Because CES does not maintain a record of FARA charges brought to it for
  review, we began by interviewing AUSAs and FBI agents involved in those FARA
  charges we learned of through our discussions with CES staff or our review of CES
  documents. We also interviewed staff at FBI Counterintelligence Division
  headquarters in Washington, D.C. During these discussions, we learned about
  additional FARA charges, involving both FARA, 22 U.S.C. 611 et seq., and a related
  statute, 18 U.S.C. § 951 (Section 951). Section 951 provides criminal penalties for
  certain agents of foreign governments who act in the United States without first
  notifying the Attorney General. Registration under FARA can serve as the requisite
  notification. We learned that the FARA Unit is called upon by CES to advise on
  Section 951 cases. Given this, we considered the information we received about
  Section 951 cases during our interviews.

  FARA Document Review

        To review FARA Unit monitoring of existing registrants, we selected a
  judgmental, risk based sample of 22 percent of the total registered agents as of
  May 2015. Factors in selecting our sample included payment amounts, weighted
  toward the more active registrants; and anomalies such as duplicate registrations
  and apparent discrepancies between long and short form registrations. We did not
  intend this sample to be projected to the universe of registered agents.

         After we selected the sample, we reviewed documentation submitted by
  selected agents during calendar years 2013, 2014, and 2015. We reviewed all
  documents submitted including initial registration and accompanying exhibits,
  supplemental statements, amendments, and informational materials. We elected
  not to include short form registrations, which include information about the
  registrant’s individual employees engaged in activities in furtherance of the foreign
  principal’s interests, in our testing because these forms included personally
  identifiable information.




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                                                                         APPENDIX 2


                      PRIOR REPORTS INVOLVING FARA

         Our research and interviews with FARA Unit personnel has identified four
  reports prepared by the General Accounting Office (now known as the Government
  Accountability Office), one report from the Project on Government Oversight
  (POGO), and one report from the Sunlight Foundation all which dealt with the
  execution and administration of the Foreign Agents Registration Act (FARA).
  Although some of these reports are over 10 years in age, they have identified some
  of the same issues discussed in this report. These issues include timeliness and
  adequacy of information submitted on behalf of registrants, not making full use of
  its authority to enforce the act and related regulations, efforts to have civil
  investigative demand authority (CID) passed denied, and the lack of tools required
  and necessary to enforce the statue properly.

          In 1974, the General Accounting Office, now known as the Government
  Accountability Office, issued a report titled, Effectiveness of the Foreign Agents
  Registration Act of 1938, As Amended, and Its Administration by the Department of
  Justice. At the time of the report, the General Accounting Office reported that
  many agents’ statements to the Department of Justice were not filed on a timely
  basis or lacked sufficient detail to adequately describe the registered agents’
  activities on behalf of their foreign principals. The report also stated that the
  Department of Justice was not making full use of its authority to enforce the act
  and related regulations.

          In 1980, the General Accounting Office, now known as the Government
  Accountability Office, issued a follow-up report to their 1974 report titled,
  Improvements Needed in the Administration of Foreign Agents Registration. The
  General Accounting Office reported that despite the Department of Justice’s efforts
  to improve the administration of the act, people were acting as foreign agents
  without registering, registered agents were not fully disclosing their activities, and
  officials in the executive branch were often unaware of the act’s requirements.
  Thus, the act’s goal of providing the public with sufficient information on foreign
  agents and their activities was not completely fulfilled.

          In 1990, the General Accounting Office, now known as the Government
  Accountability Office, issued an update to its 1980 report titled, Foreign Agent
  Registration: Justice Needs to Improve Program Administration. The report was
  issued to provide the United States Senate an update of the prior 1980 report. The
  purpose of the report was to apprise on whether the recommendations made in the
  1980 report have been implemented and if foreign agents are complying with the
  law by registering with the Department of Justice, by fully disclosing their activities,
  and by filing required reports on time. The report noted deficiencies; including
  lateness and inadequately disclosing forms from foreign principals. The General
  Accounting Office explained that both foreign agents and the Department of Justice
  officials who review the agents’ registration forms lack specific written guidance on
  what should be reported.


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         In 2008, the Government Accountability Office issued a report titled, Post-
  Government Employment Restrictions and Foreign Agent Registration. The
  Government Accountability Office reported that in order for the Department of
  Justice to enhance their ability to ensure that the American people know the
  identity of persons trying to influence the United States government policy on
  behalf of foreign entities, Congress may wish to consider granting the Department
  of Justice civil investigative demand authority (CID). This recommendation was
  essentially closed and not implemented as Congress did not take any action in
  response to this matter.

         In 2014, the Sunlight Foundation, issued a report titled, Sunlight Foundation
  Recommendations to the Department of Justice Regarding the Foreign Agents
  Registration Act. The Sunlight Foundation reported that the current method of
  recording the disseminated material submitted by foreign agents is outdated and is
  not fully transparent. Sunlight explained that an implementation of a new,
  modernized FARA collection and disclosure system that collects and releases
  detailed structured data would promote greater transparency.

         Finally in 2014, the Project on Government Oversight (POGO), issued a
  report titled, Loopholes, Filing Failures, and Lax Enforcement: How the Foreign
  Agents Registration Act Falls Short. POGO reported that countless documents in
  the FARA database do not conform to the requirements of the FARA statue.
  Furthermore, POGO reports, that it is next to impossible to determine if the 573
  U.S. firms, corporations, and individuals registered with FARA, between their scope
  of 2009 and 2012, filed every document they disseminated. POGO concluded that
  the Department of Justice must use the enforcement power it has to ensure that
  registrants, and those who do not register, comply with all aspects of the law.
  Merely relying on “voluntary compliance” allows for rampant rule breaking in the
  timely filing and labeling of informational materials.




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                                                                                                     APPENDIX 3

                 NATIONAL SECURITY DIVISION’S RESPONSE
                            TO DRAFT REPORT

                                                                U.S. Department of Justice

                                                                National Security Division


           No/iona'Security Divilion                            Washington, D.C. 20530




                                                                                         August 12, 2016

           Jason R. Malmstrom
           Assistant Inspector General for Audit
           Office of the Inspector General


           RE:       OlG's Draft Audit Report - The National Security Division' s Enforcement and
                     Administration of the Foreign Agents Registration Act


           Dear Mr. Malmstrom:

                  The National Security Division (NSD) appreciates the opportunity to review and provide
           comments to the Office oflnspector General' s Draft Audit Report (Report) concerning NSD's
           Enforcement and Administration of the Foreign Agents Registration Act (FARA or the Act),
           which you provided to NSD on July 22, 2016. NSD provides below general comments on the
           Report, followed by specific comments on the 14 recommendations contained in the Report.

           General Comments

                   The enforcement and administration ofFARA is an important responsibility ofNSD, and
           NSD appreciates the time and effort taken by the Office of the Inspector General (OlG) to
           conduct this audit. In addition to providing overall perspective in assessing the administration
           and enforcement ofFARA, the audit was helpful in reviewing some trends in registrations, the
           timeliness and sufficiency ofFARA registration filings, and some areas for administrative or
           legislative improvements to achieve FARA' s primary goal: greater transparency offoreign
           influence in the United States. NSD was pleased to have the opportunity to inform OlG of the
           complexities ofFARA and the challenges NSD faces in appl ying FARA 's criminal and civil
           enforcement provisions. The audit prompted a productive dialogue about the criminal
           enforcement of FARA and the key role administrative authorities play in promoting visibility
           into the identities, activities, and information provided by persons acting as agents offoreign
           principals. NSD anticipates that the audit will lead to improved efforts to help others better
           understand FARA's role, as well as increase the Act's effectiveness.

                  As noted in the report, the OlG interviewed AUSAs and FBI personnel who
           complimented NSD's Counterintelligence and Export Control Section' s (CES) evaluation of
           FARA cases and specifically noted the sound judgment, experience, and expertise of CES in
           handling FARA investigations. The AUSAs and FBI personnel also praised the new leadership




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           at CES for its candid assessment of cases and communication with the FBI and U.S. Attorney's
           Offices. I

                    Although OIG's report reflects some criticism of aspects ofNSD's review of FARA
           cases, NSD notes at the outset, as OlG acknowledged in the Report, that personnel interviewed
           in preparation of the Report frequently confused FARA (22 U.S.c. § 611 el seq) with 18 U.S.C.
           § 951 ("Section 951 "), a criminal statute entitled "Agents of foreign governments." Although
           the two statutes have similar terms, they address different types of conduct. The typical conduct
           to which Section 951 applies consists of espionage-like behavior, information gathering, and
           procurement of technology, on behalf of foreign governments or officials. FARA, on the other
           hand, is designed to provide transparency regarding efforts by foreign principals (a term defined
           more broadly than foreign governments or officials) to influence the U.S. government or public
           through public speech, political activities, and lobbying. Accordingly, Section 95 1 is codified in
           Title 18 of the U.S. Code (designated for "Crimes and Criminal Procedure"), while FARA is
           codified in Title 22 (designated for "Foreign Relations"). Section 95 1 is aimed exclusively at
           criminally punishing individuals who violate its terms, and lacks a formal administrative
           registration regime. FARA' in contrast, is predominantly a disclosure statute, under which there
           is an administrative registration regime, and while the Act authorizes criminal penalties for
           willful violations, the primary means of achieving FARA's main purpose of transparency is
           through voluntary disclosure in compliance with the Act. The mistaken conflation of the two
           statutes can lead to undue weight being given to criminal prosecution as the measure of FARA
           enforcement and insufficient recognition of the significance of administrative enforcement
           efforts relating to the FARA registration regime. It is therefore essential to understand the
           distinctions between FARA and Section 951 for purposes of this audit, the scope of which is
           expressly limited to the enforcement and administration of FARA'

                   The administrative enforcement efforts undertaken by FARA Unit staff focus on
           identifying foreign agents with an obligation to register and achieving compliance with the Act's
           provisions. Actions undertaken by FARA Unit staff in furtherance of these goals include:
           combing public source information for prospective registrants; reviewing registration materials
           submitted by existing registrants and inspecting registrants' books and records for information
           pertaining to registration obligations for other entities and individuals; analyzing referrals or
           information provided by other government agencies or offices; and reviewing information
           obtained from the public. Based on that work, FARA Unit staff draft and issue letters to

                     I To NSD's knowledge, during its audit, OIG did not contact or interview any existing FARA registrants or
           firms that represent FARA registrants, although NSD provided contact information for those groups. Existing
           FARA registrants and firms who represent FARA registrants are significant stakeholders who have extensive
           knowledge of and experience with the adm ini stration and enforcement ofF ARA NSD understands that OIG did
           seek to interview officials at the U.S. House of Representatives and U.S. Senate who are responsible for the
           admin istration of the Lobbying Disclosure Act ("LDA"), a statute which has certain overlaps with FARA, although
           those officials declined to be interviewed. NSD believes those officials also may possess useful insights into
           FARA 's administration and enforcement.

                    2 NSD further notes that in the Report, the DIG states that they "were told by FBI that their case coding
           commingles both FARA and Section 951 cases" and therefore the OIG was "unable to isolate cases presented under
           FARA alone." For this reason, among others, NSD believes that many of the references in the Report to FARA
           cases or investigarions were actually references to cases or investigations relating to Section 95/.




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           individuals or entities they identify who may have an obligation to register. In those letters, they
           outline the infonmation potentially giving rise to an obligation to register and seek information to
           make a detenmination regarding that obligation. They analyze the responses to those letters and
           continue to research public information to assess whether a registration obligation does in fact
           exist. The letters they send frequently result in the filing of registrations by the individuals or
           entities, thus achieving FARA's transparency purpose. Once a registration is on file, FARA Unit
           staff carefully reviews registration filings for deficiencies, seeks amendments to correct those
           deficiencies, and conducts inspections (and follow-up inspections) to ensure continued
           compliance. FARA Unit staff also provides advisory opinions regarding the application and
           requirements of the Act.

                   In add ition to activities devoted to administrative enforce ment of the Act, FARA Unit
           personnel produce and process a significant volume of registration forms and assoc iated filing
           fees; provide support, guidance, and assistance to registrants, potential registrants, their
           attorneys, and other govenunent agencies concerning FARA issues; produce a semi-annual
           report to Congress; maintain a public office reading room; process a high volume of database
           searches for the FBI, Department of Homeland Security, Senate Foreign Relations Committee,
           and other government agencies; handle frequent media inquiries; and assist numerous members
           of the public with registration and search guidance through in-person meetings, e-mail
           exchanges, and telephone inquiries. They perfonm all of these duties while maintaining and
           enhancing the FARA e-File system and database, and while providing extensive customer
           service to users of the system.

                   As noted above and in the Report, FARA contains a criminal penalty provision, and NSD
           approves criminal prosecution as an enforcement mechanism if there is sufficient admissible
           evidence ofa willful violation ofFARA, and the standards applicable to all federal criminal
           prosecutions set forth in the U.S. Attorney's Manual are otherwise satisfied. The high burden of
           proving willfulness, difficulties in proving "direction and control" by a foreign principal, and
           exemptions available under the statute make crimi nal prosecution for FARA violations
           challenging. These challenges are compounded by the government' s current inability to compel
           the production of records from potential and current registrants, a situation NSD is working to
           remedy by proposing legislation for consideration by the Department of Justice (Department).
           Despite these challenges, the Department has brought four FARA criminal cases since 2007, all
           of which resulted in convictions (one conviction at trial for conspiracy to violate FARA and
           other statutes; two guilty pleas for violating FARA; and one guilty plea to related non-FARA
           charges).

                   The 010 Report, however, also cites a view that the limited number ofFARA criminal
           prosecutions is indicative of a counterintelligence tool that is underutilized. To demonstrate this,
           the Report refers to a belief by some FBI staff that the prospect of FARA charges might assist in
           obtaining cooperation from FARA violators, presumably in counterintelligence investigations.
           This, agai n, is most likely indicative ofa mistaken conflation of Section 951 with FARA. It
           might be possible to use Section 95 1 in this manner; however, given the considerable challenges
           cited above in developing viable, appropriate prosecutions for FARA-related activity, such a use
           ofFARA to obtain cooperation is unlikely at best. By promoting disclosures that wunask
           foreign political influence and foreign direction of political activities, FARA is an effective




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           counterintelligence tool. In the alternative, a reluctance to register and disclose under FARA
           can, in fact, deter a foreign principal from engaging in political activities in the United States in
           the first place.

                    The Report devotes significant emphasis to the timeliness of filings by registrants. NSD
           notes that well over half of the fi lings categorized as late were filed within 30 days after the
           filing deadline. In addition, in a number of filings considered late in the Report, the FARA Unit
           provided an extension to the registrant, which mitigated the lateness. Under FARA's current
           statutory and regulatory authorities, there is no penalty for lateness. Although the Department
           previously has proposed legislation imposing fines for late filing under FARA, NSD' s recent
           assessment is that imposing fines for late filing could act as a disincentive to registration and
           result in less transparency. Many parties who register late do so because they are unaware of the
           existence of FARA. Penali zi ng someone who, when informed about the Act, complies with the
           statute, could serve as a deterrent to registration. NS D believes that encouraging disclosure is
           preferable to fines in furthering the national security mission ofFARA.


           OIG Recommendations

               I. OIG Recommendation - Consider the value of making FARA advisory opinions
                  publicly available as an information resource.

                  NSD Response - Agree. Prior to thi s audit, NSD determined it was appropriate to
                  release, in response to specific FOrA requests, redacted versions of advisory opinions
                  issued to persons who subsequently registered based on the decision in the advisory
                  opinion. By March 31 , 2017, NSD will review its policy and practices regarding FARA
                  advisory opinions and determine how to expand public accessibility of these opinions.

              2. OIG Recommendation - Update its current training for investigators and prosecutors to
                 include information about the time it takes and the process used by NSD to approve or
                 deny these types of cases for prosecution.

                  NSD Response - Agree. NS D will continue to update and provide training for
                  investigators and prosecutors regarding FARA, to include information about the time it
                  takes and the process used by NS D to approve or deny FARA cases for prosecution.
                  NSD already commenced efforts to enhance prosecutors' understanding of FARA with
                  multiple presentations to prosecutors and law enforcement partners around the country in
                  2016. These presentations delineated the differences between FARA and Section 951,
                  and highlighted the types of cases suitable for prosecution under each statute. NSD will
                  continue to deli ver such training to prosecutors and agents. In addition, CES has initiated
                  preparation of a monograph on FARA and Section 951 for broad dissemination to
                  prosecutors and agents. NSD anticipates completion of the monograph by September 30,
                  20 17.




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             3. OIG Recommendation - Explore with the FBI the feasibility of distinct classification
                codes for FARA and Section 95 1 in its record keeping system.

                NSU Response - Agree. Although the FBI already has distinct codes, as indicated in
                the Report, FBI personnel often commingle the coding, causing confusion. It is
                imperative that agents are aware of the correct code to use for FARA investigations, and
                NSD wi ll meet with the FBI prior to September 30, 20 16 to explore reso lution of this
                Issue.

             4. OIG Recommendation - Develop a comprehensive strategy for the enforcement and
                admin istration ofFARA that includes the agencies that perform FARA investigations and
                prosecutions and that is integrated with the Department's overall national security efforts.

                NSD Response - Agree. NSD agrees with the importance of having a comprehensive
                strategy regarding FARA that is integrated within the Department's overall national
                security efforts. In fact, in March 2015, NSD conducted its own written internal
                assessment of the existing strategy for enforcement and administration of FARA,
                identifying key current issues and strategies for addressing them, and then took active
                steps to implement those new strategies. The Department has an "all tools" approach to
                addressing national security threats, and NSD currently includes FARA as one of those
                tools. Effort!) tu enforce compliance with FARA include research, identification of
                potential agents, inquiry, investigation, and prosecution if wi ll ful conduct is found.
                FARA fits into the Department's overall national security efforts by promoting detection
                of, discouraging, and neutralizing undisclosed foreign messaging and forcing disclosure
                of foreign efforts to influence United States domestic and foreign policy, as well as
                public opinion. As noted above, CES has initiated preparation of a monograph on FARA
                and Section 95 1 for broad dissemination to prosecutors and agents that it anticipates wi ll
                be completed by September 2017. This "ill clarify for agencies the use of FARA and
                Section 95 1, and NSD also will include discussion of its comprehensive strategy in its
                ongoing training for investigators and prosecutors. NSD's comprehensive strategy wi ll
                include updates to its FARA-related training materials to provide helpful information
                regarding NSD's evaluation of potential criminal cases under FARA. These updates will
                be included in all FARA-related training presentations going forward.

             5. OIG Recommendation - Ensure that it timely informs investigators and prosecutors
                regarding the reasons for decisions not to approve FARA prosecutions.

                NSD Response - Agree. As noted in the OIG Report, CES has taken steps to ensure that
                it timely infonns investigators and prosecutors in individual cases regarding the reasons
                for not approving FARA charges and will continue these efforts in all FARA
                investigations and prosecutions. In addition, as discussed in the response to OIG
                Recommendation 2 and 4, NSD is updating its FARA-related training materials to
                provide helpful information regarding NSD's evaluation of potential criminal cases under
                FARA. These updates wi ll be included in all FARA-related training presentations going
                forward.




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             6. OIG Recommendation - Establish a comprehensive system for tracking the FARA
                cases received for review, including whether cases are approved for further criminal or
                civil action, and the timeline for approval or deniaL

                NSD Response - Agree. NSD will improve tracking of FARA matters through: (I) the
                efforts set forth in Recommendation 3 above regarding working with the FBI to ensure
                FARA matters are coded correctly; and (2) improvements to NSD' s case tracking system
                to ensure ready identification of those FARA matters. Moreover, NSD will ensure the
                case tracking system captures actions that are taken and approved, and, consistent with
                Recommendations 2 and 5, also captures dates the matter was received, as well as dates
                of actions and approvals. As noted above, NSD will meet with FBI on the coding issue
                prior to September 30, 2016. Improvements to the case tracking system to ensure
                identification of FARA matters will take place on an ongoing basis as NSD's new case
                management system is developed and implemented during 20 16 and 2017.

             7. OIG Recommendation - Complete its etTort to standardize a system for batching and
                sending registration delinquency notices at regular intervals, and develop policy and
                procedures that ensure appropriate follow up on them.

                NSD Response - Agree. NSD is committed to completing its current effort to
                standardize a system for batching and sending registration delinquency notices at regular
                intervals, and to develop policy and procedures that ensure appropriate follow-up.
                During the past year, the FARA Unit has standardized a system for batching and sending
                registration delinquency notices at regular intervals. It is currently in the process of
                expanding on thi s system to ensure appropriate tracking of responses, and estimates that
                the enhancement will be completed by September 30, 2017. When the system is
                complete, NSD will ensure that FARA Unit personnel will be able to adequately and
                efficiently track compliance and that they take appropriate measures to address
                delinquency.

             8. OIG Recommendation - Develop a policy and tracking system that ensures that
                registration files are timely closed and that when agents cease meeting their supplemental
                filing obligations for an extended period of time an appropriate investigation is
                conducted.

                NSD Response - Agree. NSD will develop a policy and tracking system that ensures
                that registration files are timel y closed and that appropriate action is taken when
                supplemental filing obligations are not met for an extended period of time. NSD's
                current efforts to update its system for batching and sending registration delinquency
                notices at regular intervals will help to identify candidates for termination. These
                upgrades wi ll help to determine which registrants are no longer active and enable the
                FARA Unit to take appropriate action to terminate the registrations. NSD anticipates this
                policy will be developed by March 3 1, 2017.




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             9. OIG Recommendation - Consider expanding the sources of information beyond those
                currently used by the FARA Unit to help identify potential or delinquent foreign agents,
                currently limited to open source internet and LexisNexis searches.

                NSD Response - Agree. NSD agrees that expansion of sources of information would
                assist in identifying potential or delinquent foreign agents. NSD has already engaged in
                outreach to other government agencies that might have access to additional information
                that would assist the FARA Unit's efforts. NSD will continue to pursue that outreach on
                an ongoing basis and also will work to identify other sources of information that would
                be useful to the Unit in fulfilling its mission.

             10. OIG Recommendation - Either take steps to improve the compliance rates for the filing
                 of informational materials to achieve the purposes of the Act or, if the Unit considers the
                 current 48-hour standard unreasonable, pursue appropriate modifications.

                NSD Response - Agree. NSD considered this issue and determined that the 48-hour rule
                is out of date and unreasonable. To that end, NSD drafted appropriate modifications to
                address this issue that are being reviewed within the Department.

             II . OIG Recommendation - Ensure appropriate and timely follow-up and resolution of
                  findings identified in its inspection reports.

                NSD Response - Agree. Many of the inspections conducted by the FARA Unit are
                conducted to correct deficiencies in registrations, and to bring into compliance untimely
                registrations. NSD notes that OIG viewed most (87.4 percent) inspection follow-up as
                timely. To ensure appropriate and timely follow-up and resolution of inspections, the
                FARA Unit's efforts with respect to Recommendation 7 and 8 above will provide
                benefits here as well. In addition, the FARA Unit will standardize its electronic
                calendaring of inspections and time lines for completion of recommendations after
                inspections. NSD expects enhancements to its inspection practices to be completed by
                September 30, 2017.

             12. OIG Recommendation - Perform a formal assessment of the LDA exemption, along
                 with the other current FARA exemptions and determine whether a formal effort to seek
                 legislative change on any of these exemptions is warranted.

                NSD Response - Agree. NSD endorses, and will undertake, a formal assessment of the
                LDA and other current FARA exemptions. As noted in the Report, the FARA Unit has
                attributed a decrease in the number of registrants and foreign principals to the enactment
                of the LDA exemption and has also noted that the reporting requirements of LOA are not
                as robust as those under FARA. Prior to the OIG Report, NSO embarked on efforts to
                study the LDA and other FARA exemptions. Those efforts will continue, and NSD will
                determine the need and viability of legislative changes by June 30, 2017.

             13. OIG Recommendation - Conduct a formal cost-benefit analysis to determine whether
                the current fee structure is appropriate.




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                  NSD Response - Agree. NSD will conduct a formal cost-benefit analysis to determine
                  whether the current fee structure is appropriate by September 30, 2017. Included in this
                  analysis will be an assessment of whether the processing of fees takes valuable time and
                  resources of the FARA Unit that could be better utilized on enforcement.

              14. OIG Recommendation - Include improvement of timeliness as an objective in the
                  development of the eFile system, to include requiring execution dates for all contracts.

                  NSD Response - Agree. The FARA Unit has discussed this issue with the FARA eFile
                  system development team and has received positive feedback that it is feasible to add a
                  field to the eFile system to collect the date of the registrant's agreement with the foreign
                  principal. This feature will be included in the roll out of the FARA eFile system, which
                  is anticipated by September 30, 2017.

           Conclusion

                   NSD appreciates the time and effort of the OIG in conducting its audit. The enforcement
           and administration ofFARA is an important responsibility, and NSD welcomes the opportunity
           to improve efforts to help others better understand FARA's administration and enforcement, as
           well as increase the Act's effectiveness.




                                                                G. Bradley Weinsheimer
                                                                Acting Chief of Staff
                                                                National Security Division




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                                                                        APPENDIX 4

  OFFICE OF THE INSPECTOR GENERAL ANALYSIS AND SUMMARY
         OF ACTIONS NECESSARY TO CLOSE THE REPORT

         The Office of the Inspector General (OIG) provided a draft of this audit report
  to the National Security Division (NSD). NSD’s response is incorporated in
  Appendix 3 of this final report. The following provides the OIG analysis of the
  response and summary of actions necessary to close the report.

  Analysis of NSD Response

          In its response, NSD agreed with each of our recommendations and
  discussed the actions it will implement in response. NSD also provided general
  comments on the report. In its general comments, NSD reemphasized what NSD
  officials told us during the audit - although 22 U.S.C. § 611, et seq. (FARA) and 18
  U.S.C. § 951 (Section 951) have similar terms, they address different types of
  conduct. NSD also reemphasized that it generally disagrees with investigators who
  believe that FARA can serve as an effective tool to compel the development of
  cooperating sources. We acknowledge both of NSD’s points in the report and
  continue to believe that these differing understandings among key personnel are
  the result of insufficient training on FARA for field investigators and the lack of a
  comprehensive FARA enforcement strategy within the Department. As we state in
  the report, we believe our recommendations, once implemented, have the potential
  to greatly improve the Department’s overall FARA enforcement efforts by helping to
  ensure that field personnel and NSD officials are in agreement on their approach to
  these important statutes.

         NSD also noted in a footnote to its general comments that the OIG did not
  interview any FARA registrants. NSD is correct. The OIG determined that although
  FARA registrants might be in a position to offer an opinion about their interactions
  with NSD, interviewing these individuals would not significantly advance our
  objective to evaluate the monitoring and enforcement actions taken by the
  Department to ensure appropriate registration and to identify areas where the
  Department might make administrative or seek legislative improvements to its
  FARA enforcement efforts. In performing our audit, we ensured that we performed
  appropriate analysis and conducted numerous interviews, including discussions with
  individuals external to NSD and the Department of Justice, who provided us with an
  appropriate and sufficient understanding of FARA administration and enforcement.

         Lastly, in its general comments, NSD addressed our findings with respect to
  late submissions by FARA registrants. NSD stated that for a number of filings we
  considered to be late in the report, the FARA Unit had provided an extension to the
  registrant, which mitigated the lateness. In our review and analysis of registrant
  documentation during our audit, we included all extensions that we found within
  registrant files in calculating the timeliness of submitted documentation and, as a
  result, believe that our calculations accurately reflect the timeliness of submissions.




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  Summary of Actions Necessary to Close the Report

  1.    Consider the value of making FARA advisory opinions publicly
        available as an informational resource.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated that by March 31, 2017, it would review its policy and practices
        regarding FARA advisory opinions and determine how to expand public
        accessibility.

        This recommendation can be closed when we receive evidence that this
        review was conducted and of the actions taken as a result of the review.

  2.    Update its current training for investigators and prosecutors to
        include information about the time it takes and the process used by
        NSD to approve or deny these types of cases for prosecution.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated it would continue to update its FARA training for investigators and
        prosecutors, to include information about the time it takes and the process
        used by NSD to approve or deny FARA cases.

        This recommendation can be closed when we receive evidence that the
        relevant training was updated and provided to prosecutors and agents.

  3.    Explore with the FBI the feasibility of distinct classification codes for
        FARA and Section 951 in its record keeping system.

        Resolved. NSD agreed with our recommendation. In its response NSD noted
        that, to its understanding, the FBI already has distinct classification codes for
        these statutes. However, NSD also acknowledged possible confusion and
        commingling of those codes. We note that we asked FBI officials about its
        classification codes for FARA cases both during our audit and subsequent to
        the issuance of our draft report to NSD, and were told by the FBI that both
        statutes are recorded under a single FARA code. NSD stated it intends to
        meet with FBI prior to September 30, 2016, to explore resolution of this
        issue.

        This recommendation can be closed when we receive evidence that NSD
        explored with the FBI the feasibility of distinct classification codes in its
        record keeping system.

  4.    Develop a comprehensive strategy for the enforcement and
        administration of FARA that includes the agencies that perform FARA
        investigations and prosecutions and that is integrated with the
        Department’s overall national security efforts.




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        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated that it has conducted an internal assessment of FARA enforcement
        and administration and has begun implementing strategies resulting from
        that assessment. NSD’s response stated that FARA fits into the
        Department’s overall national security efforts by promoting the detection of,
        discouraging, and neutralizing undisclosed foreign messaging, and forcing
        disclosure of foreign efforts to influence United States foreign and domestic
        policy and public opinion. NSD’s comprehensive strategy will include updates
        to FARA training materials to provide helpful information regarding NSD’s
        evaluation of FARA criminal charges.

        This recommendation can be closed when we receive evidence of a
        completed comprehensive strategy that includes the agencies that perform
        FARA investigations and prosecutions and is integrated with the
        Department’s overall national security efforts.

  5.    Ensure that it timely informs investigators and prosecutors regarding
        the reasons for decisions not to approve FARA prosecutions.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated it has taken steps to ensure that it timely informs investigators and
        prosecutors in individual cases regarding the reasons for FARA decisions.
        NSD added that it intends to update training materials to provide helpful
        information regarding evaluation of FARA charges.

        This recommendation can be closed when we receive evidence of the steps
        described and of the updated training materials.

  6.    Establish a comprehensive system for tracking the FARA cases
        received for review, including whether cases are approved for further
        criminal or civil action, and the timeline for approval or denial.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated it intends to address this recommendation by addressing classification
        coding with FBI as described in recommendation 3 above, and by
        improvements to NSD’s case tracking system to ensure ready identification of
        FARA matters, to include dates of receipt, action, and approval of FARA
        matters. Case tracking improvements are anticipated to take place during
        2016 and 2017.

        This recommendation can be closed when we receive evidence of the
        classification code resolution with FBI, and of a case tracking system that
        includes information about approval for further criminal or civil action, and
        the timeline for approval or denial.

  7.    Complete its effort to standardize a system for batching and sending
        registration delinquency notices at regular intervals, and develop
        policy and procedures that ensure appropriate follow up on them.


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        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated that in the past year it has standardized a system for batching and
        sending registration delinquency notices at regular intervals. NSD also noted
        that it is currently in the process of expanding the system, which is
        anticipated to be complete by September 30, 2017. Additionally, NSD stated
        that it is committed to developing policy and procedures that ensure
        appropriate follow-up. NSD stated that upon completion of the delinquency
        notice system, it will ensure FARA Unit staff adequately and efficiently track
        compliance and take appropriate measures to address delinquency.

        This recommendation can be closed when we receive evidence of the
        completion and implementation of the delinquency notice system, and policy
        and procedures to ensure appropriate follow-up.

  8.    Develop a policy and tracking system that ensures that registration
        files are timely closed and that when agents cease meeting their
        supplemental filing obligations for an extended period of time an
        appropriate investigation is conducted.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated it intends to address this recommendation through the development of
        the delinquency notice system described in recommendation 7 above, which
        will help identify candidates for termination, and through the development of
        policy to ensure registration files are timely closed and appropriate actions
        are taken when obligations are not met for an extended period of time. NSD
        anticipates this policy will be developed by March 31, 2017.

        This recommendation can be closed when we receive evidence of the
        completion and implementation of the delinquency notice system, a policy is
        implemented to ensure registration files are timely closed, and appropriate
        actions are taken when obligations are not met for an extended period of
        time.

  9.    Consider expanding the sources of information beyond those
        currently used by the FARA Unit to help identify potential or
        delinquent foreign agents, currently limited to open source internet
        and LexisNexis searches.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated it has already engaged in outreach to other government agencies that
        might have such sources of information. NSD stated it will continue to
        pursue that outreach on an ongoing basis, and additionally will work to
        identify additional sources of information.

        This recommendation can be closed when we receive evidence of such
        outreach and identification.




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  10.   Either take steps to improve the compliance rates for the filing of
        informational materials to achieve the purposes of the Act or, if the
        Unit considers the current 48-hour standard unreasonable, pursue
        appropriate modifications.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated it has determined the 48-hour standard is out of date and
        unreasonable. NSD has drafted appropriate modifications to address the
        issue which are under review within the Department of Justice.

        This recommendation can be closed when we receive evidence of the
        modifications or steps taken to improve the compliance rates for the filing of
        informational materials.

  11.   Ensure appropriate and timely follow-up and resolution of findings
        identified in its inspection reports.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated that, in addition to its actions with respect to recommendations 7 and
        8 above, the FARA Unit will standardize its electronic calendaring of
        inspections and timelines for completion, anticipated to be complete by
        September 30, 2017.

        This recommendation can be closed when we receive evidence of appropriate
        and timely follow-up and resolution of findings identified in inspection
        reports.

  12.   Perform a formal assessment of the LDA exemption, along with the
        other current FARA exemptions and determine whether a formal
        effort to seek legislative change on any of these exemptions is
        warranted.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated that it has already embarked on a study of Lobbying Disclosure Act
        and other exemptions, that these efforts will continue, and that NSD will
        make determinations with respect to need and viability of legislative changes
        by June 30, 2017.

        This recommendation can be closed when we receive evidence of the
        completed LDA assessment and the results of any additional exemption
        assessments performed by NSD.

  13.   Conduct a formal cost-benefit analysis to determine whether the
        current FARA fee structure is appropriate.

        Resolved. NSD agreed with our recommendation. In its response,
        NSD stated it will conduct a formal cost benefit analysis of the fee structure
        by September 30, 2017.


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        This recommendation can be closed when we receive evidence of that
        analysis and NSD’s resulting decision about the current fee structure.

  14.   Include improvement of timeliness as an objective in the
        development of the e-file system, to include requiring execution
        dates for all contracts.

        Resolved. NSD agreed with our recommendation. In its response, NSD
        stated it has determined it is feasible to add a field to collect execution dates
        for all contracts; however, NSD’s response was silent on the overarching
        issue of incorporating timeliness as an objective in the development of the e-
        file system, beyond the specific contract date issue. We continue to believe
        that e-file presents opportunities to better manage and ultimately improve
        registrant timeliness, and recommend that e-file develop with timeliness as a
        consideration.

        This recommendation can be closed when we receive documentation
        demonstrating that NSD has included the improvement of timeliness as an
        objective in the development of the e-file system, including the requirement
        of execution dates for all contracts.




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                            Exhibit 42
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                                                                                Table 31

                               SENTENCE IMPOSED RELATIVE TO THE GUIDELINE RANGE
                                                                  1
                                              BY TYPE OF CRIME
                                                 Fiscal Year 2019

                                                 WITHIN
                                                GUIDELINE                                               DEPARTURE
                                                 RANGE                        UPWARD                §5K1.1     §5K3.1   DOWNWARD VARIANCE
TYPE OF CRIME                             TOTAL     N   %                       N  %                  N    %     N    %    N  %     N   %
TOTAL                                        76,034       39,078    51.4         364      0.5      7,272      9.6      7,119      9.4      3,162      4.2     19,039    25.0
Administration of Justice                        695         357    51.4          12      1.7         36      5.2           6     0.9          43     6.2         241   34.7
Antitrust                                         20            2   10.0            0     0.0         15    75.0            0     0.0           0     0.0           3   15.0
Arson                                             68          35    51.5            2     2.9           9   13.2            0     0.0           2     2.9          20   29.4
Assault                                          768         380    49.5          18      2.3         39      5.1           1     0.1          55     7.2         275   35.8
Bribery/Corruption                               341          63    18.5            0     0.0        118    34.6            0     0.0          27     7.9         133   39.0
Burglary/Trespass                                 64          40    62.5            1     1.6           1     1.6           0     0.0           2     3.1          20   31.3
Child Pornography                              1,368         413    30.2          10      0.7         30      2.2           0     0.0          95     6.9         820   59.9
Commercialized Vice                               90          32    35.6            1     1.1           9   10.0            0     0.0           7     7.8          41   45.6
Drug Possession                                  490         445    90.8            2     0.4           2     0.4           0     0.0           3     0.6          38    7.8
Drug Trafficking                             19,813        6,734    34.0          64      0.3      4,460    22.5       1,224      6.2        846      4.3       6,485   32.7
Environmental                                    173          82    47.4            0     0.0         10      5.8           0     0.0          14     8.1          67   38.7
Extortion/Racketeering                           183          88    48.1            2     1.1         21    11.5            0     0.0           9     4.9          63   34.4
Firearms                                       8,474       4,618    54.5          56      0.7        563      6.6           8     0.1        305      3.6       2,924   34.5
Food and Drug                                     48          34    70.8            1     2.1           0     0.0           0     0.0           1     2.1          12   25.0
Forgery/Counter/Copyright                        276         135    48.9            1     0.4         29    10.5            0     0.0          11     4.0         100   36.2
Fraud/Theft/Embezzlement                       6,273       2,991    47.7          19      0.3        830    13.2           17     0.3        205      3.3       2,211   35.2
Immigration                                  29,239       19,193    65.6         103      0.4        205      0.7      5,852     20.0      1,141      3.9       2,745    9.4
Individual Rights                                 64          34    53.1            0     0.0           7   10.9            0     0.0           3     4.7          20   31.3
Kidnapping                                        96          30    31.3            2     2.1         18    18.8            0     0.0           9     9.4          37   38.5
Manslaughter                                      74          39    52.7            7     9.5           0     0.0           0     0.0           5     6.8          23   31.1
Money Laundering                               1,174         289    24.6            4     0.3        333    28.4            7     0.6          67     5.7         474   40.4
Murder                                           373         143    38.3            4     1.1         87    23.3            0     0.0          33     8.8         106   28.4
National Defense                                 193          54    28.0            0     0.0         40    20.7            0     0.0          23    11.9          76   39.4
Obscenity/Other Sex Offenses                     392         235    59.9            3     0.8           0     0.0           1     0.3          12     3.1         141   36.0
Prison Offenses                                  610         402    65.9            3     0.5         11      1.8           3     0.5          30     4.9         161   26.4
Robbery                                        1,825         711    39.0          29      1.6        262    14.4            0     0.0        100      5.5         723   39.6
Sexual Abuse                                   1,165         458    39.3          14      1.2         58      5.0           0     0.0          77     6.6         558   47.9
Stalking/Harassing                               223         113    50.7            4     1.8           2     0.9           0     0.0          15     6.7          89   39.9
Tax                                              547         139    25.4            0     0.0         69    12.6            0     0.0          16     2.9         323   59.0
Other                                            915         789    86.2            2     0.2           8     0.9           0     0.0           6     0.7         110   12.0

1
  Of the 76,538 cases, 504 were excluded because information was missing from the submitted documents that prevented the comparison of the sentence and the guideline
range. Descriptions of variables used in this table are provided in Appendix A.

SOURCE: U.S. Sentencing Commission, 2019 Datafile, USSCFY19.
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                                                          Table 32
SENTENCE IMPOSED RELATIVE TO THE GUIDELINE RANGE BY PRIMARY SENTENCING GUIDELINE1
                                  Fiscal Year 2019
                  Within                                                        Within
                 Guideline      Departure                                      Guideline      Departure
Guideline   Total Range Up §5K1.1 §5K3.1 Down Variance Guideline          Total Range Up §5K1.1 §5K3.1 Down Variance
§2A1.1         260      99    0      70       0    18      73   §2D1.8       12     4     0     3    0     0     5
§2A1.2          45      16    4       5       0     4      16   §2D1.9        0     0     0     0    0     0     0
§2A1.3          27      15    3       0       0     2       7   §2D1.10       7     0     0     1    0     0     6
§2A1.4          47      24    4       0       0     3      16   §2D1.11      27     0     0     6    0     0    21
§2A1.5          46      20    0       4       0     8      14   §2D1.12       0     0     0     0    0     0     0
§2A2.1         169      72    1      26       0     5      65   §2D1.13       3     3     0     0    0     0     0
§2A2.2         413     185   15      10       1    39     163   §2D1.14       0     0     0     0    0     0     0
§2A2.3         111      79    1       0       0     4      27   §2D2.1      172   149     2     2    0     2    17
§2A2.4         206     113    4       2       4    17      66   §2D2.2      111    94     0     1    0     1    15
§2A3.1         137      60    2       3       0    17      55   §2D2.3        0     0     0     0    0     0     0
§2A3.2          40      26    2       0       0     1      11   §2D3.1        5     5     0     0    0     0     0
§2A3.3           6       3    2       1       0     0       0   §2D3.2        0     0     0     0    0     0     0
§2A3.4          44      24    1       0       0     3      16   §2D3.3        0     0     0     0    0     0     0
§2A3.5         360     222    2       0       1    12     123   §2D3.4        0     0     0     0    0     0     0
§2A4.1          93      29    2      18       0     9      35   §2D3.5        0     0     0     0    0     0     0
§2A4.2           1       1    0       0       0     0       0   §2E1.1       62    30     1     7    0     6    18
§2A5.1           0       0    0       0       0     0       0   §2E1.2        1     0     0     0    0     0     1
§2A5.2          27      16    1       0       0     2       8   §2E1.3        1     0     0     0    0     0     1
§2A5.3           0       0    0       0       0     0       0   §2E1.4        6     4     0     1    0     0     1
§2A6.1         137      73    1       2       0     7      54   §2E1.5        0     0     0     0    0     0     0
§2A6.2          80      38    3       0       0     7      32   §2E2.1       16     4     0     1    0     3     8
§2B1.1       5,706   2,503   19     819      10   198   2,157   §2E3.1       29    10     0     1    0     4    14
§2B1.2           0       0    0       0       0     0       0   §2E3.2        0     0     0     0    0     0     0
§2B1.3           0       0    0       0       0     0       0   §2E3.3        0     0     0     0    0     0     0
§2B1.4          35       0    0       7       0     2      26   §2E4.1       25     9     0     5    0     0    11
§2B1.5          12       4    0       0       0     0       8   §2E5.1        7     4     0     2    0     0     1
§2B1.62        138     134    0       4       0     0       0   §2E5.2        0     0     0     0    0     0     0
§2B2.1          48      27    1       1       0     2      17   §2E5.3        1     1     0     0    0     0     0
§2B2.2           0       0    0       0       0     0       0   §2E5.4        0     0     0     0    0     0     0
§2B2.3           9       7    0       0       0     0       2   §2E5.5        0     0     0     0    0     0     0
§2B3.1       1,805     707   29     258       0    99     712   §2E5.6        0     0     0     0    0     0     0
§2B3.2          45      22    1       5       0     0      17   §2F1.1        2     0     0     0    0     1     1
§2B3.3          11       7    0       0       0     0       4   §2F1.2        0     0     0     0    0     0     0
§2B4.1          78      14    0      32       0     1      31   §2G1.1       82    28     1     9    0     6    38
§2B5.1         229     123    1      21       0     5      79   §2G1.2        0     0     0     0    0     0     0
§2B5.2           0       0    0       0       0     0       0   §2G1.3      375   174     5    34    0    13   149
§2B5.3          47      12    0       8       0     6      21   §2G2.1      521   161     2    17    0    39   302
§2B5.4           0       0    0       0       0     0       0   §2G2.2    1,363   411    10    29    0    94   819
§2B6.1           1       0    0       0       0     0       1   §2G2.3        0     0     0     0    0     0     0
§2C1.1         245      40    0      86       0    25      94   §2G2.4        0     0     0     0    0     0     0
§2C1.2           7       3    0       0       0     1       3   §2G2.5        0     0     0     0    0     0     0
§2C1.3           7       5    0       0       0     0       2   §2G2.6       18     2     0     2    0     0    14
§2C1.4           0       0    0       0       0     0       0   §2G3.1       25     8     1     0    0     0    16
§2C1.5           0       0    0       0       0     0       0   §2G3.2        1     0     0     0    0     0     1
§2C1.6           0       0    0       0       0     0       0   §2H1.1       26     7     0     5    0     3    11
§2C1.7           0       0    0       0       0     0       0   §2H1.2        0     0     0     0    0     0     0
§2C1.8           2       0    0       0       0     0       2   §2H1.3        0     0     0     0    0     0     0
§2D1.1      19,460   6,574   63   4,403   1,220   821   6,379   §2H1.4        0     0     0     0    0     0     0
§2D1.2         281     145    1      48       0    16      71   §2H1.5        0     0     0     0    0     0     0
§2D1.3           0       0    0       0       0     0       0   §2H2.1       17    15     0     0    0     0     2
§2D1.4           0       0    0       0       0     0       0   §2H3.1        7     5     0     1    0     0     1
§2D1.5           2       0    0       2       0     0       0   §2H3.2        0     0     0     0    0     0     0
§2D1.6           0       0    0       0       0     0       0   §2H3.3        3     3     0     0    0     0     0
§2D1.7           1       1    0       0       0     0       0   §2H4.1        7     1     0     1    0     0     5
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                                                                        Table 32 (cont.)
                     Within                                                                                 Within
                    Guideline      Departure                                                               Guideline      Departure
Guideline      Total Range Up §5K1.1 §5K3.1 Down Variance Guideline                                   Total Range Up §5K1.1 §5K3.1 Down Variance
§2H4.2             0          0         0        0         0        0        0       §2M5.2             141         31         0       31         0       19        60
§2J1.1             0          0         0        0         0        0        0       §2M5.3              17          4         0        2         0        3         8
§2J1.2           131         29         3       16         1       11       71       §2M6.1               6          3         0        0         0        0         3
§2J1.3            21         10         0        0         0        3        8       §2M6.2               0          0         0        0         0        0         0
§2J1.4            13         12         0        0         0        0        1       §2N1.1              11          0         1        0         0        1         9
§2J1.5             0          0         0        0         0        0        0       §2N1.2               0          0         0        0         0        0         0
§2J1.6            34         21         0        0         0        2       11       §2N1.3               1          1         0        0         0        0         0
§2J1.7             0          0         0        0         0        0        0       §2N2.1              28         27         0        0         0        0         1
§2J1.8             0          0         0        0         0        0        0       §2N3.1               0          0         0        0         0        0         0
§2J1.9             0          0         0        0         0        0        0       §2P1.1             298        196         3        5         3       16        75
§2K1.1             1          1         0        0         0        0        0       §2P1.2             238        158         0        6         0       11        63
§2K1.2             0          0         0        0         0        0        0       §2P1.3               0          0         0        0         0        0         0
§2K1.3            27          5         0        6         0        4       12       §2P1.4               0          0         0        0         0        0         0
§2K1.4            66         34         2        9         0        2       19       §2Q1.1               0          0         0        0         0        0         0
§2K1.5             0          0         0        0         0        0        0       §2Q1.2              31         11         0        1         0        6        13
§2K1.6             0          0         0        0         0        0        0       §2Q1.3              20          6         0        4         0        4         6
§2K1.7             0          0         0        0         0        0        0       §2Q1.4               0          0         0        0         0        0         0
§2K2.1         7,952      4,247        48      511         8      296    2,842       §2Q1.5               0          0         0        0         0        0         0
§2K2.2             0          0         0        0         0        0        0       §2Q1.6               0          0         0        0         0        0         0
§2K2.3             0          0         0        0         0        0        0       §2Q2.1              82         40         0        4         0        2        36
§2K2.43          413        327         8       39         0        0       39       §2Q2.2               0          0         0        0         0        0         0
§2K2.5            17         14         0        0         0        0        3       §2R1.1              20          2         0       15         0        0         3
§2K2.6             0          0         0        0         0        0        0       §2S1.1             990        211         3      324         4       44       404
§2K3.1             0          0         0        0         0        0        0       §2S1.2               0          0         0        0         0        0         0
§2K3.2             0          0         0        0         0        0        0       §2S1.3             177         72         1        9         3       23        69
§2L1.1         3,487      1,412         4      151     1,208       90      622       §2S1.4               0          0         0        0         0        0         0
§2L1.2        22,071     15,191        96       29     3,990      977    1,788       §2T1.1             328         86         0       41         0        6       195
§2L1.3             0          0         0        0         0        0        0       §2T1.2               0          0         0        0         0        0         0
§2L2.1           104         51         0       18         0        5       30       §2T1.3               0          0         0        0         0        0         0
§2L2.2           961        697         2        3        54       31      174       §2T1.4             166         36         0       25         0        7        98
§2L2.3             0          0         0        0         0        0        0       §2T1.5               0          0         0        0         0        0         0
§2L2.4             0          0         0        0         0        0        0       §2T1.6              40         10         0        2         0        2        26
§2L2.5             0          0         0        0         0        0        0       §2T1.7               0          0         0        0         0        0         0
§2M1.1             0          0         0        0         0        0        0       §2T1.8               1          1         0        0         0        0         0
§2M2.1             0          0         0        0         0        0        0       §2T1.9               2          1         0        1         0        0         0
§2M2.2             0          0         0        0         0        0        0       §2T2.1               3          1         0        0         0        1         1
§2M2.3             0          0         0        0         0        0        0       §2T2.2               2          2         0        0         0        0         0
§2M2.4             0          0         0        0         0        0        0       §2T3.1               3          2         0        0         0        0         1
§2M3.1             2          0         0        1         0        0        1       §2T3.2               0          0         0        0         0        0         0
§2M3.2             0          0         0        0         0        0        0       §2T4.1               0          0         0        0         0        0         0
§2M3.3             2          2         0        0         0        0        0       §2X1.1              16          9         0        0         0        0         7
§2M3.4             0          0         0        0         0        0        0       §2X2.1               0          0         0        0         0        0         0
§2M3.5             0          0         0        0         0        0        0       §2X3.1              88         28         3       17         0        6        34
§2M3.6             0          0         0        0         0        0        0       §2X4.1             268        162         4       18         1        8        75
§2M3.7             0          0         0        0         0        0        0       §2X5.1               0          0         0        0         0        0         0
§2M3.8             0          0         0        0         0        0        0       §2X5.2             214        169         0        0         0        0        45
§2M3.9             0          0         0        0         0        0        0       §2X6.1               1          1         0        0         0        0         0
§2M4.1             0          0         0        0         0        0        0       §2X7.1               1          0         0        0         0        0         1
§2M5.1            14          3         0        6         0        1        4       §2X7.2               0          0         0        0         0        0         0
                                                                                     TOTAL           71,859     35,901       363    7,257    6,508     3,087 18,743
1
  Of the 76,538 cases, 4,679 were excluded due to one or both of the following reasons: information was missing from the submitted documents that prevented the
comparison of the sentence and the guideline range (504) or missing guideline applied (4,652). Descriptions of variables used in this table are provided in Appendix A.
2
 In these cases, the offender was convicted of violating 18 U.S.C. § 1028A (Aggravated Identity Theft) as the only count or counts of conviction. The Guidelines
Manual provides punishment for this type of offense under §2B1.6.
3
  In these cases, the offender was convicted of violating 18 U.S.C. § 924(c) (Use of Firearm, Armor-Piercing Ammunition, or Explosives During or in Relation to
Certain Crimes) as the only count or counts of conviction. The Guidelines Manual provides punishment for this type of offense under §2K2.4.

SOURCE: U.S. Sentencing Commission, 2019 Datafile, USSCFY19.
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                                                                            Table 39

                                        EXTENT OF OTHER DOWNWARD DEPARTURES
                                                                      1
                                                   BY TYPE OF CRIME
                                                     Fiscal Year 2019



                                                                               Mean                                                   Median
                                                           Sentence           Decrease           Percent           Sentence           Decrease           Percent
TYPE OF CRIME                                     N       In Months          In Months           Decrease         In Months          In Months           Decrease
TOTAL                                         3,107           38                 25               42.4                18                 12               36.7
Administration of Justice                        43            9                  9               53.9                 8                  8               49.9
Antitrust                                         0           --                 --                 --                --                 --                 --
Arson                                             2           --                 --                 --                --                 --                 --
Assault                                          53           33                 18               44.4                24                  9               37.7
Bribery/Corruption                               27           12                 16               61.7                 8                 10               55.6
Burglary/Trespass                                 2           --                 --                 --                --                 --                 --
Child Pornography                                93           70                 61               48.0                60                 54               48.9
Commercialized Vice                               7            6                  7               77.6                 0                  6              100.0
Drug Possession                                   3            3                  2               74.5                 0                  2              100.0
Drug Trafficking                                834           64                 40               41.2                48                 27               36.4
Environmental                                    12            6                 12               76.5                 0                 12              100.0
Extortion/Racketeering                            8           37                 25               39.1                40                 13               34.7
Firearms                                        305           37                 20               39.8                27                 13               31.4
Food and Drug                                     1           --                 --                 --                --                 --                 --
Forgery/Counter/Copyright                        11            8                 10               61.5                 8                  7               55.6
Fraud/Theft/Embezzlement                        203           20                 17               56.1                12                 11               52.9
Immigration                                   1,140           14                  9               38.4                12                  6               33.3
Individual Rights                                 3           24                 12               52.1                12                 12               33.3
Kidnapping                                        6          144                126               47.2               136                133               48.0
Manslaughter                                      5           54                 11               22.0                15                  4               14.8
Money Laundering                                 66           27                 34               61.7                10                 17               59.4
Murder                                           25          127                 89               39.3               132                 64               36.7
National Defense                                 23           35                 38               46.5                26                 19               43.5
Obscenity/Other Sex Offenses                     12           11                  9               48.0                12                  9               31.0
Prison Offenses                                  30            8                  8               51.3                 7                  6               40.9
Robbery                                         100           70                 38               37.3                60                 27               31.7
Sexual Abuse                                     59          153                 71               34.1               138                 60               26.7
Stalking/Harassing                               14           17                 18               56.0                21                 16               47.4
Tax                                              15           14                 16               57.0                 9                 12               57.1
Other                                             5            4                  4               53.6                 3                  5               46.7

1
  Of the 76,538 cases, in 3,162 the sentence was a downward departure from the guideline range, either due to a government motion for a departure (1,410) or a
non-government departure (1,752). Due to an inability to calculate the extent of departure for cases with a guideline minimum of life, 16 offenders were excluded
from this table. Also, 39 offenders were excluded due to several logical criteria. Sentences greater than 470 months and probation were included in the sentence
average computations as 470 months and zero months, respectively. The information in this table includes conditions of confinement as described in USSG §5C1.1.
Descriptions of variables used in this table are provided in Appendix A.

SOURCE: U.S. Sentencing Commission, 2019 Datafile, USSCFY19.
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                                                                            Table 40

                                                 EXTENT OF DOWNWARD VARIANCES
                                                                           1
                                                        BY TYPE OF CRIME
                                                          Fiscal Year 2019



                                                                               Mean                                                    Median
                                                           Sentence           Decrease           Percent            Sentence           Decrease           Percent
TYPE OF CRIME                                     N       In Months          In Months           Decrease          In Months          In Months           Decrease
TOTAL                                        17,108           50                 26               42.9                 28                 14               34.8
Administration of Justice                       217            7                 11               67.2                  4                  9               74.8
Antitrust                                         2           --                 --                 --                 --                 --                 --
Arson                                            15           21                 21               56.6                 24                 22               47.8
Assault                                         233           51                 22               44.1                 26                 12               33.6
Bribery/Corruption                              127           24                 19               55.2                 12                 12               50.0
Burglary/Trespass                                16            9                 10               54.7                  9                  6               44.1
Child Pornography                               782           80                 51               40.5                 71                 43               38.1
Commercialized Vice                              26           11                  8               49.3                 12                  6               48.9
Drug Possession                                  17            1                  4               85.8                  0                  2              100.0
Drug Trafficking                              6,113           73                 36               37.8                 60                 24               31.0
Environmental                                    64            3                 11               84.2                  0                  9               99.8
Extortion/Racketeering                           52           20                 20               58.5                 11                 13               55.2
Firearms                                      2,582           39                 19               40.0                 27                 12               31.4
Food and Drug                                    12           25                 21               58.7                 18                 21               61.8
Forgery/Counter/Copyright                        91            8                 12               60.9                  6                  8               55.6
Fraud/Theft/Embezzlement                      2,061           20                 14               54.4                 12                 10               48.9
Immigration                                   2,406           12                  7               43.6                  8                  6               33.3
Individual Rights                                14           32                 26               50.5                 16                 11               49.1
Kidnapping                                       31          121                 61               33.4                108                 48               31.0
Manslaughter                                     14           35                 16               43.4                 24                 13               22.6
Money Laundering                                438           50                 33               48.3                 30                 19               39.8
Murder                                           51          169                 91               34.7                150                 81               33.3
National Defense                                 71           39                 37               53.9                 20                 26               51.4
Obscenity/Other Sex Offenses                    123           10                 11               53.5                  9                  9               48.7
Prison Offenses                                 142            9                  7               50.7                  6                  6               48.3
Robbery                                         597           86                 29               28.1                 76                 21               21.7
Sexual Abuse                                    364          154                 65               32.5                156                 55               28.9
Stalking/Harassing                               72           16                 14               49.9                 12                 10               49.8
Tax                                             311           11                 13               61.6                  8                 12               55.4
Other                                            64           11                 23               77.8                  0                  8               99.3

1
  Of the 76,538 cases, in 17,608 the sentence was a variance below the guideline range, either due to a government motion for a variance (4,083) or a non-government
variance (13,525). Due to an inability to calculate the extent of departure for cases with a guideline minimum of life, 167 offenders were excluded from this table.
Also, 333 offenders were excluded due to several logical criteria. Sentences greater than 470 months and probation were included in the sentence average
computations as 470 months and zero months, respectively. The information in this table includes conditions of confinement as described in USSG §5C1.1.
Descriptions of variables used in this table are provided in Appendix A.

SOURCE: U.S. Sentencing Commission, 2019 Datafile, USSCFY19.
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                                                     APPENDIX A
                                Descriptions of Datafiles and Variables
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198    |   2019 Sourcebook




      Introduction
              The Commission’s research program is based on data from the Federal courts. The
      Commission collects data regarding every felony and class A misdemeanor offense sentenced
      each year.  To facilitate this data collection, the courts are statutorily required to submit five
      sentencing documents to the Commission within 30 days of entry of judgment in a criminal
      case: (1) the charging document (information/indictment), (2) the plea agreement (if any), (3) the
      Presentence Report (if any), (4) the Judgment and Commitment Order, and (5) the Statement of
      Reasons form. The Commission analyzes these documents and collects information of interest
      and importance to policymakers and the federal criminal justice community.

             Tables in this report use the Commission’s datafile, USSCFY19, which includes
      information on the 76,538 individual offenders sentenced between October 1, 2018, through
      September 30, 2019, for whom sentencing documents were received as of February 21, 2020.
      This report also provides data on 118 organizational offenders sentenced during that period.
      Also, this report provides data on 5,082 offenders resentenced by the district court or whose
      sentence was modified in some other way during that period.  Finally, this report provides data
      on 6,830 appeals cases decided during fiscal year 2019.

             Given the nature of the datafile and reporting requirements, the following are not
      included: cases initiated but for which no convictions were obtained, offenders convicted but
      who have not been sentenced, and offenders sentenced but for whom no sentencing documents
      were submitted to the Commission. Cases in which a sentence of death was imposed also are
      not available in this dataset as the sentencing guidelines do not apply to those cases.

             Note that for all tables, total percentages may not add up to 100 percent due to rounding.




      Variables
             The following section describes the variables used in this report.



           Age

              The Age of the offender on the day of sentencing is calculated using the date of sentencing
      as reported in the Judgment and Commitment Order and the offender’s date of birth as reported
      either in the Presentence Report or in the case submission information provided by the court
      when submitting the case to the Commission. Offenders under the age of 18 at the time of
      sentencing were charged as adults for a federal felony or Class A misdemeanor.
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       Anders Brief

         Anders Brief cases are those in which the defendant’s counsel files a motion for
  leave to withdraw from representation, and asserts that counsel has reviewed the case and
  concludes there are no non-frivolous grounds for appeal; whereupon the appellate court, after
  independently reviewing the record and agreeing that the case is wholly frivolous, affirms the
  sentence and dismisses the appeal, and grants counsel’s motion to withdraw. See Anders v.
  California, 386 U.S. 738 (1967).



       Any Guideline

           The Commission collects guideline application information on up to four guidelines
  in a single computation (more than one guideline can be applied through the cross-reference
  application in the Guidelines Manual). If a guideline is recorded in any of the four collected
  fields, then it is reported as “any guideline.”  Note that counts for this category may exceed the
  total number of offenders in any fiscal year because each offender may have multiple guideline
  computations and/or multiple reference guidelines applied.



       Appeals

         Appeals data are derived from analyses of opinions and orders from the courts of appeals.
  For purposes of the appeals data, an appeals case is one in which a federal court of appeals
  has issued an opinion or order. Opinions and orders submitted by the courts are collected
  and coded. All appeals cases are coded for identifying data, such as parties, disposition, date,
  and circuit. In cases in which the appellate court reverses or remands a sentencing issue, the
  sentencing issue is coded. Conviction issues are not coded.



       Attribution Category for Sentences Outside the Range

          All categories replicate the list of checkboxes available on the Statement of Reasons
  (SOR) form. Not all checkbox categories are available in both the departure section and
  sentences outside the guideline system section on this form and multiple checkboxes may be
  indicated in a single case so that totals in a table may exceed the total number of cases. The
  Commission uses these checkboxes in determining government sponsorship: all cases in which
  one of the pursuant to a plea agreement boxes is indicated are attributed to the government.
  Additionally, cases where a USSG §5K1.1, USSG §5K3.1, or other government motion checkbox
  was indicated in the pursuant to a motion not in a plea agreement section are also attributed to
  one of the government motion categories. Additionally, other types of SOR forms may indicate
  sponsorship in writing, and these attributions are also included in the appropriate category.
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           Circuit

             Information on judicial Circuit is generated using the location of the judicial district in
      which the offender was sentenced.



           Citizenship Status

              Information on the Citizenship Status of offenders is obtained from the Presentence
      Report. Offenders are categorized as one of the following: “U.S. citizen,” “resident alien,”
      “illegal alien,” “extradited alien,” or “non-U.S. citizen, alien status unknown.” The latter four
      categories are collapsed into the category of “non-U.S. citizen.”



           Conviction Type

             Sentencing classification is defined in 18 U.S.C. § 3559(a).   The federal sentencing
      guidelines apply to felony cases and Class A Misdemeanors (see USSG §1B1.9). For this reason,
      no information about petty offenses is recorded in the Commission’s datafiles.



           Criminal History Category

             Criminal History Category is derived from the Statement of Reasons provided by the
      sentencing court. Criminal History Category is taken from the Presentence Report when the
      Statement of Reasons is not available. While the court may disagree with Presentence Report
      information, the Criminal History Category is the same in the vast majority of cases for which
      both documents were received.



           District

           Information on the judicial District in which sentencing occurred is obtained from the
      Judgment and Commitment Order.



           Document Submission Rates

             Five documents are represented in the document submission table: Judgment
      and Commitment Order (J&C), Presentence Report (PSR), Statement of Reasons (SOR),
      indictment/information (Ind), and plea agreements (Plea). The J&C, SOR, and PSR generally
      are submitted in a standardized format. PSRs waived by the court are indicated in a separate
      column. Standardized forms for the SORs are most frequently submitted; however, transcripts
      or partial SORs and/or transcripts from the sentencing hearing are also included as Statement
      of Reasons Received.   Cases in which the Commission was unable to determine definitively
      whether the offender’s guilty plea was entered pursuant to a written agreement are excluded
      from the Plea totals. The total documents received column is derived from adding the total
      number of received documents from the J&C, PSR, SOR, Ind, and Plea columns.
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       Downward Departure

         Downward Departure consists of cases in which the sentence imposed was below the
  applicable guideline range and for which the court cited a reason on Part V of the Statement of
  Reasons form (Departures Pursuant to the Guidelines Manual). In these cases, the court may
  also have cited 18 U.S.C. § 3553 or factors or reasons specifically prohibited in the provisions,
  policy statements, or commentary of the sentencing guidelines as additional reasons. This
  category includes departures that result from government motions as well as from motions by
  the parties.



       Downward Variance

          Downward Variance consists of cases in which the sentence imposed was below the
  applicable guideline range and for which the court cited a reason on Part VI of the Statement
  of Reasons form (Court Determination for a Variance). This category includes variances which
  result from government motions as well as from motions by the defendant.



       Drug Trafficking Guidelines

         Drug Trafficking Guidelines information is obtained from the Presentence Report and is
  based on the guidelines in USSG Chapter Two, Part D. The seven guidelines (USSG §§2D1.1,
  2D1.2, 2D1.5, 2D1.6, 2D1.8, 2D1.10, and 2D1.14) represent the guidelines in Chapter Two, Part
  D that utilize the drug quantity table in USSG §2D1.1 (Drug Trafficking) to determine the
  base offense level.



       Education

         Information on Education of the offender is obtained from the Presentence Report and is
  collapsed into general categories. Technical, military, and vocational training as well as course
  work at community colleges is included in the Some College category. A general equivalency
  degree (GED) is included in the High School Graduate category.



       Extent of Decrease

         Extent of Decrease is calculated based on the difference between the sentence length
  (including any months of alternative confinement as defined in USSG §5C1.1) and the guideline
  minimum (including any statutory trumps) for below range cases. Life imprisonment sentences
  and cases where the guideline minimum is zero months or life are excluded from all extent of
  decrease calculations due to the logical difficulty in calculating a decrease from these values.
  High values of the guideline minimum are capped at 470 months for analytical purposes.
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           Extent of Increase

              Extent of Increase is calculated based on the difference between the guideline maximum
      (including any statutory trumps) and the sentence length (including any months of alternative
      confinement as defined in USSG §5C1.1) for above range cases.  Life sentences and cases where
      the guideline minimum is life are excluded from all extent of increase calculations due to the
      logical difficulty in calculating an increase from these values. High values of the guideline
      minimum are capped at 470 months for analytical purposes.



           Federal Offenders Sentenced

              Each Federal Offender Sentenced or case, as recorded by the Commission, involves a
      single sentencing event for a single offender. Multiple counts of conviction, including counts of
      conviction charged on multiple indictments, are considered a single sentencing event if a single
      sentence was imposed for the counts on the same day at the same time by the same judge. A
      single offender may account for more than one case if the offender was involved in more than
      one sentencing event during the fiscal year.  Data on co-defendants in the same sentencing will
      appear as separate cases.



           Fines and Restitution

              Fines and Restitution information is obtained from the Judgment and Commitment
      Order (J&C). Fine information may also include cost of supervision. Cases that receive no
      fine or restitution are not included in the calculation of the means.  The number of cases upon
      which the mean is based may not equal the number of offenders ordered to pay fines and/or
      restitution; this is due to the failure of some J&Cs to specify the dollar amount ordered. The
      median of payments ordered reflects the amount located at the fiftieth percentile of all amounts
      ordered, excluding cases in which the amount was indeterminable or zero.



           Gender

             Gender of the offender is obtained from the Presentence Report.



           Government Motion (Variance)

              Government Motion (Variance) consists of cases in which the sentence imposed was
      below the applicable guideline range pursuant to a government motion and for which the court
      cited a reason on Part VI of the Statement of Reasons (SOR) form (Court Determination for a
      Variance). These cases are determined by a yearly case review by Commission staff of both the
      reasons for the below range sentence and the coding by Commission staff of any indication of
      government sponsorship as indicated on the SOR form for below range cases. The SOR form
      has specific checkboxes to indicate the origins of the variance, but cases that do not use this
      form may also indicate in writing the origins of the variance. Additionally, all cases with one or
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  more of the following reasons were classified as being sponsored by the government regardless
  of whether the SOR indicated sponsorship: pursuant to a plea agreement (binding, non-
  binding, or unknown), fast track, savings to the government, early plea, waiver of indictment
  and/or appeal, other government motion, global disposition, due to stipulations, facilitated early
  release of a material witness, joint recommendation, and large number of immigration cases.
  This category does not include cases with USSG §5K1.1 Substantial Assistance departures or
  USSG §5K3.1 Early Disposition Program (EDP) departures.



       Guideline Sentencing Range

         The Guideline Sentencing Range is taken from the Statement of Reasons provided by the
  sentencing court. Alternatively, if the Statement of Reasons is missing, then the information
  is taken from the Presentence Report.

        For tables in this report, unless otherwise indicated, the guideline sentencing range
  does not take into account applicable statutory restrictions on either the maximum or the
  minimum of the range; therefore, it may differ from the available range, which does take into
  account the statutory restrictions.



       Length of Imprisonment

         For cases in which a term of imprisonment was imposed, Length of Imprisonment reports
  the mean and median terms of imprisonment imposed in months. Length of imprisonment also
  includes any time served amounts and imprisonment under USSG §5G1.3. This information is
  obtained from the Judgment and Commitment Order (J&C). Mean and median imprisonment
  lengths are rounded to the nearest month.

          Any portion of a sentence that is an alternative confinement as described in USSG
  §5C1.1 is excluded. Cases in which a term of imprisonment is ordered, but where the length
  is indeterminable, also are excluded. When sentences are expressed as “time served” on the
  J&C, Commission staff uses the dates in federal custody to determine the length of time served
  provided the offender has been in custody the entire time. If the offender has been in and out
  of custody, or the start date is unclear or missing, then the Commission assigns a value of one
  day as a minimal time served amount for these cases.

          In cases where the court imposes a sentence of life imprisonment, a numeric value is
  necessary to include these cases in any analysis. Accordingly, life sentences are reported as
  470 months, a length consistent with the average life expectancy of federal criminal offenders
  given the average age of federal offenders. Sentences of greater than 470 months are also
  reported as 470 months.  The footnote in the relevant tables and figures indicates when this
  occurs.
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           Length of Supervised Release

             For cases in which a term of supervised release was imposed, Length of Supervised
      Release reports the mean and median terms of supervised release imposed in months. This
      information is obtained from the Judgment and Commitment Order. Cases in which a term of
      supervised release is ordered, but where the length is indeterminable, are excluded. In cases
      where the court imposes a supervised release term of lifetime supervision, a numeric value
      is necessary to include these cases in any sentence length analysis. Accordingly, life terms
      of supervised release are reported as 470 months, a length consistent with the Commission’s
      assignment of 470 months for life imprisonment sentences.



           Mandatory Minimum Penalties

            Information on Mandatory Minimum Penalties is obtained from the Presentence Report
      and represents the assessment of the probation officer.  The sentencing court may alter this
      mandatory minimum penalty information; occasionally, such changes are not reflected in the
      documents received by the Commission.



           Mode of Conviction

             Information on Mode of Conviction is obtained from the Judgment and Commitment
      Order. Offenders sentenced subsequent to a plea of guilty or nolo contendere are included in
      the Plea category. Offenders sentenced subsequent to a trial by judge or jury are included
      in the Trial category. Rare cases involving both a plea and a trial are included in the Trial
      category.



           Non-Government Departure

             Non-Government Departure consists of cases in which the sentence imposed was outside
      the applicable guideline range and for which the court cited a reason on Part V of the Statement
      of Reasons form (Departures Pursuant to theGuidelines Manual) other than USSG §5K1.1 or
      USSG §5K3.1, and where the government did not initiate, propose, or stipulate to the sentence.



           Non-Government Variance

              Non-Government Variance consists of cases in which the sentence imposed was outside
      the applicable guideline range and for which the court cited a reason on Part VI of the Statement
      of Reasons form (Court Determination for a Variance), and where the government did not
      initiate, propose, or stipulate to the sentence.
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     Non-Prison Sentence

        Non-Prison Sentence includes sentences including probation and/or any alternative
confinement, as described in USSG §5C1.1 (i.e., the entire sentence was not incarceration in
jail/prison only).



     Number of Employees

       The Number of Employees identifies the number of persons employed by an organizational
offender. This information is obtained from the Presentence Report. The number includes full-
time workers, part-time workers, hourly workers, seasonal workers, and contractors. If the
organization has undergone a significant down-sizing since the offense was detected by the
authorities, the number of employees at the time of the offense is used for this variable.



     Offense Level

       The final Offense Level used in these tables is taken from the Statement of Reasons
provided by the sentencing court. Alternatively, if the Statement of Reasons is missing, the
offense level is taken from the Presentence Report.



     Organizations

        Organization is a “person other than an individual.” See 18 U.S.C. § 18. The term
includes corporations, partnerships, associations, joint-stock companies, unions, trusts, pension
funds, unincorporated organizations, governments and political subdivisions thereof, and non-
profit organizations.



     Other Government Motion (Downward Departure)

        Other Government Motion is determined by a yearly case review by Commission staff
of both the reasons for the below range sentence and the coding by Commission staff of any
indication of government sponsorship as indicated on the Statement of Reasons (SOR) for below
range cases.  The SOR form has specific checkboxes to indicate the origins of the departure,
but cases that do not use this form may also indicate in writing the origins of the departure.
Additionally, all cases with one or more of the following reasons were classified as being
sponsored by the government regardless of whether the SOR indicated sponsorship: pursuant
to a plea agreement (binding, non-binding, or unknown), fast track, savings to the government,
early plea, waiver of indictment and/or appeal, other government motion, global disposition, due
to stipulations, facilitated early release of a material witness, joint recommendation, and large
number of immigration cases. This category does not include cases with USSG §5K3.1 Early
Disposition Program (EDP) departures or USSG §5K1.1 Substantial Assistance departures.
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            Ownership Structure

             The Ownership Structure identifies the legal status of an organizational offender.  This
      information is obtained from the Presentence Report. If an organization is incorporated but is
      not openly traded, it is classified as “Closely-held or Private.”  If the financial statements in the
      presentence investigation report are termed “unaudited,” then the company is also classified as
      “Closely-held or Private.”



            Position of Sentence

              The Position of Sentence describes within-range guideline sentences in terms of their
      relative positions within their applicable guideline ranges. Guideline range information is taken
      from the Statement of Reasons form and sentence information is taken from the Judgement
      and Commitment Order.

              The Position of Sentence is determined by dividing the available range in half. This
      allows a sentence to fall into one of five distinct categories:  the guideline minimum; the lower-
      half of the range (when not at the guideline minimum); the exact midpoint of the range; the
      upper-half of the range (when not at the guideline maximum) and the guideline maximum.
      The “available range” is the guideline range with applicable statutory restrictions on either the
      maximum or the minimum of the range taken into account. For cases in which USSG §5C1.2
      was applied, in accordance with the provisions of the guideline, the statutory restrictions on
      the minimum of the range are removed according to 18 U.S.C. § 3553(f).

              In cases in which the sentence is located outside the available sentencing range, departure
      and/or variance information is provided as reported by the sentencing court. Differences in
      the number and percentage of cases in each category may differ from other tables presented in
      this report; this is due to the exclusion of any case missing both complete information from the
      Statement of Reasons and information on statutory minima and maxima.



            Primary Drug Type

             Information on Primary Drug Type is obtained from the Presentence Report, Judgment
      and Commitment Order, or plea agreement. It is recorded only if at least one of the statutes of
      conviction recorded by the Commission is an offense under title 21 of the United States Code
      or an offense under another title when the underlying conduct involves a controlled substance.
      Information about the drugs in the text and tables is derived from the primary drug type
      involved in each case. In cases involving more than one drug, the primary drug type is the
      drug of a quantity producing the highest converted drug weight (as described in USSG §2D1.1,
      Application note 8).

              The category Fentanyl are those cases that involve Alpha-Methylfentanyl. The category
      Marijuana includes Hashish and Hashish oil. The category Methamphetamine includes
      pure (actual) methamphetamine, “Ice,” methamphetamine mixture, and methamphetamine
      precursors sentenced under any drug trafficking guideline other than USSG §2D1.11 (for
      example ephedrine and pseudoephedrine). All drug types not listed separately in this report
      are collapsed into the “Other” drug category.
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     Primary Guideline

       When more than one sentencing guideline is applied in a case, the Primary Guideline is
the guideline that has the highest adjusted offense level (this includes the Base Offense Level,
all applicable Specific Offense Characteristics, and Chapter Three Adjustments prior to the
application of Multiple Count Units).



     Race

        Information on Race of the offender is obtained from the Presentence Report in separate
categories of race and ethnicity (White, Black, Native American or Alaskan Native, Asian or
Pacific Islander, Multiracial, and “Other” ). Ethnicity data indicates whether an offender is of
Hispanic origin. For purposes of this report, offenders whose ethnic background is designated
as Hispanic are represented as Hispanic in all tables regardless of racial background. The
Other race category includes offenders of Native American or Alaskan Native, Asian or Pacific
Islander, Multiracial, and “Other” origin.



     Reasons for Sentences Outside the Guideline Range

       Reasons for Sentences Outside the Guideline Range are obtained from the Statement
of Reasons when available. Because courts often provide more than one reason for sentencing
outside the guideline range, the frequencies on these tables may add up to more than the
number of cases.



     Resentencings and Other Modification of Sentence

       Using information submitted by the district courts, Resentencings and Other
Modifications of Sentence are classified into eight different categories:

           Correction of Sentence on Remand (18 U.S.C. § 3742(f)(1) and (2)): Cases in which
     the original sentence is remanded to the district court by a court of appeals. The
     possible grounds for this include: (1) the sentence violated the law, (2) the guidelines were
     incorrectly applied, (3) the sentence is outside the applicable guideline range and the
     court failed to adequately explain why, (4) the sentence is outside the applicable guideline
     range and the court relied upon an impermissible reason, (5) the sentence is outside the
     applicable guideline range and the court departed to an unreasonable degree, or (6) there
     was no applicable guideline and the sentence is plainly unreasonable;

           Direct Motion to District Court Pursuant to 18 U.S.C. § 3559(c)(7): Cases in which
     an offender received an aggravated penalty imposed under 18 U.S.C. § 3559(c)(7) at
     the time of original sentence and where a prior conviction for a serious violent felony or
     serious drug offense that triggered the aggravated penalty was overturned because it
     was (1) unconstitutional, (2) the offender was actually innocent, or (3) the offender was
     pardoned because of innocence;
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                 Direct Motion to District Court Pursuant to 28 U.S.C. § 2255: Cases in which a
           district court determines that (1) the original sentence was imposed in violation of the
           Constitution or the law, (2) the court lacked jurisdiction to impose the sentence, (3) the
           sentence was greater than the maximum sentence allowed by the law, or (4) the sentence
           is otherwise subject to collateral attack;

                 Modification of Imposed Term of Imprisonment for Extraordinary and Compelling
           Reasons (18 U.S.C. § 3582(c)(1)): Cases in which the district court reduces an original
           sentence for extraordinary and compelling reasons or because the offender is at least 70
           years old, has served at least 30 years for the offense for which the offender is currently
           imprisoned, and the Federal Bureau of Prisons (BOP) has determined that the offender
           is not a danger to the safety of any person or the community;

                  Modification of Imposed Term of Imprisonment for Retroactive Amendments to the
           Sentencing Guidelines (18 U.S.C. § 3582(c)(2)): Cases in which a district court reduces the
           sentence for an offender who was sentenced based on a sentencing range that later was
           lowered by the United States Sentencing Commission and where the Commission voted
           to apply the lowered penalty retroactively. This reduction can occur through a motion
           filed by the offender, the director of the BOP, or upon the court’s own motion;

                Modification of Restitution Order (18 U.S.C. § 3664): Cases in which the court
           modifies any part of a judgment ordering restitution be paid to victims;

                Reduction of Sentence for Changed Circumstances (Federal Rule of Criminal
           Procedure 35(b)): Cases in which the government files a motion after the original sentence
           is imposed requesting the court to reduce that sentence because the offender provided
           substantial assistance to the government; and

                Unknown Type of Resentencing: Cases in which a resentencing has occurred but
           where the type of resentencing cannot be determined.



           Safety Valve

             Safety Valve cases are identified based upon the application of the criteria set forth in
      subdivisions (1)-(5) of subsection (a) of USSG §5C1.2 as described in the Statement of Reasons
      or Presentence Report.   These criteria are considered as a specific offense characteristic in
      cases where USSG §2D1.1 or USSG §2D1.11 is the sentencing guideline.

              The application of this specific offense characteristic requires that the offender meet
      the criteria set forth in subdivisions (1)-(5) of subsection (a) of USSG §5C1.2, which are the
      same criteria as in 18 U.S.C. § 3553(f). Section 3553(f) requires courts to sentence an offender
      without regard to any otherwise applicable mandatory minimum penalty when the criteria
      are met. Additionally, offenders meeting this criteria receive a reduction of two offense levels
      pursuant to USSG §2D1.1(b)(18) or USSG §2D1.11(b)(6). This two-level reduction can occur
      even if no mandatory minimum penalty might otherwise apply in the case. Both types of
      Safety Valve application are accounted for in the Sourcebook tables. In a small number of cases
      the court may not give the two-level reduction but does sentence the offender without regard to
      an otherwise applicable mandatory minimum penalty.
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       Because of the continuing refinement of the guidelines, the position of this specific
offense characteristic notation within USSG §2D1.1 may vary from year to year.



     Sentence Appeals Disposition

        Data is derived from analysis of opinions and orders from the courts of appeals. The
appeals disposition code indicates the disposition of the case. Affirmed cases are cases in which
an appellate court holds that the judgment of the court below is correct and should stand.
Reversed cases are those in which an appellate court sets aside, annuls, vacates, or changes to
the contrary the decision of a lower court. Affirmed and Reversed cases are cases in which an
appellate court affirmed one or more issues and reversed one or more of the issues that were
appealed. Remanded cases are those in which the appellate court sent the case back to the
lower court to address the issue under appeal. Dismissed cases are those an appellate court
terminates without a complete trial and without issuing a holding. A dismissal of an appeal
places the parties in the same condition as if no appeal had been taken or allowed, and thus
acts as a confirmation of the judgment of the court below.



     Sentencing Issues Appealed

        Data about the issue or issues appealed are derived from analyses of opinions and orders
from the courts of appeals. Each sentencing issue that is reversed or remanded by the appellate
court is coded by the guideline involved and description of the particular issue addressed within
that guideline. Challenges related to sentencing, but not to guideline application, are coded
under categories reserved for “constitutional issues” or “other general sentencing issues.”



     Sentence Imposed or Sentence Length

      Sentence Imposed or Sentence Length reports the mean and median terms of the sentence
imposed in months. It also includes any time served amounts and imprisonment under USSG
§5G1.3. This information is obtained from the Judgment and Commitment Order (J&C). Mean
and median sentence lengths are rounded to the nearest month.

       Probation sentences are included as zero months. Any portion of a sentence that is an
alternative confinement as described in USSG §5C1.1 is included.  Cases in which a sentence is
imposed, but where the length is indeterminable, are excluded. When sentences are expressed
as “time served” on the J&C, Commission staff uses the dates in federal custody to determine
the length of time served when an offender has been in custody the entire time. If the offender
has been in and out of custody, or the start date is unclear/missing, then the Commission
assigns a value of one day as a minimal time served amount for these cases.

       In cases where the court imposes a sentence of life imprisonment, a numeric value is
necessary to include these cases in any sentence length analysis. Accordingly, life sentences
are reported as 470 months, a length consistent with the average life expectancy of federal
criminal offenders given the average age of federal offenders. Sentences of greater than 470
months are also reported as 470 months.   The footnote in the relevant tables and figures
indicates when this occurs.
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           Sentences Under the Guidelines Manual

             This category includes offenders whose sentences are determined to be either within
      the guideline range or outside the guideline range and for which the court cited a reason on
      Part V of the Statement of Reasons form (Departures Pursuant to the Guidelines Manual). In
      these cases, the court may also have cited 18 U.S.C. § 3553 or factors or reasons specifically
      prohibited in the provisions, policy statements, or commentary of the sentencing guidelines as
      additional reasons. This category includes departures which result from government motions
      as well as from motions by the offender.



           Type of Appeal

             Data are derived from analyses of opinions and orders from the courts of appeals. The
      type of appeals code indicates the types of issues that are raised in the case. The types of
      appeals codes are: (1) sentencing issues only, (2) sentencing and conviction issues, (3) conviction
      issues only, (4) Anders Brief, and (5) unknown.

             For coding purposes, an appeal involves sentencing issues when the appellant either
      argues that the district court erred during the sentencing phase or raises issues concerning the
      applicability of the guidelines to the case at hand. In some cases, the appellant is challenging
      some part of the plea agreement involving sentencing. These issues are also considered
      sentencing issues. An appeal involves conviction issues when the appellant claims some sort
      of error occurred during the investigation, trial, or jury deliberations that did not involve
      sentencing or the sentencing guidelines. Anders Brief cases are those where the counsel for
      the appellant has advised the court of appeals that he or she has conscientiously examined the
      case but finds the appeal to be wholly frivolous and has requested permission to withdraw.  See
      Anders v. California, 386 U.S. 738 (1967).  This disposition code was added in fiscal year 2010.



           Type of Business

            The Type of Business identifies the primary industry in which an organizational offender
      conducted business. This information is obtained from the Presentence Report.



           Type of Crime

            Information on Type of Crime is obtained from the primary guideline detailed in the
      Presentence Report. If the primary guideline is an “attempt/conspiracy” guideline, such as
      USSG §2X1.1, then the underlying guideline is used to determine the type of crime category.

              If there is no primary guideline provided, then information about the type of crime
      category is obtained from the statutes of conviction listed on the Judgment and Commitment
      Order. When the “type of crime” for the case is determined from the statutes of conviction,
      the offense applicable to the count of conviction with the highest statutory maximum becomes
      the “type of crime.” If two or more counts are found to have the same statutory maximum,
      the “type of crime” is selected according to which count of conviction has the highest statutory
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minimum. Finally, in the event of a small number of cases still tied, the “type of crime” that
best represented the nature of the criminal behavior is chosen.

       For convenience in analysis, a summary variable describing “type of crime” is derived.
This is generated by grouping similar primary offenses into a smaller set of categories. Note
that the crime categories differ between the individual and organizational offender datafiles.  
Listed below are the offense types that are grouped into each of the crime categories used in
the individual offender datafile tables for this report:  

          Administration of Justice Offenses includes obstructing or impeding officers,
     contempt, obstruction of justice, perjury or subornation of perjury, bribery of a witness,
     impersonation, failure to appear by offender, failure to appear by material witness,
     commission of offense while on release, payment of witness, and misprision of a felony
     This category includes offenders sentenced under USSG §§2A2.4, 2J1.1, 2J1.2, 2J1.3,
     2J1.4, 2J1.6, 2J1.9, and 2X4.1.

          Antitrust includes bid-rigging, price-fixing, and market allocation agreement.  This
     category includes offenders sentenced under USSG §2R1.1.

           Arson includes property damage by explosives and use of fire or explosives to commit
     a federal felony. This category includes offenders sentenced under USSG §§2K1.4 and
     2K1.7 (deleted).

           Assault includes attempt to commit murder, assault with intent to murder,
     threatening communication, aggravated assault, minor assault, and conspiracy that
     includes assault with attempt to murder. This category includes offenders sentenced
     under USSG §§2A2.1, 2A2.2, and 2A2.3.

           Bribery/Corruption includes offenses involving public officials and violations of
     federal election campaign laws, bribe involving officials, bribery—bank loan/commercial,
     loan or gratuity to bank examiner, etc., gratuity involving officials, bribe or gratuity
     affecting employee plan, conflict of interest, payment or receipt of unauthorized
     compensation, and making, receiving, or failing to report a contribution, donation, or
     expenditure in violation of the Federal Election Campaign Act. This category includes
     offenders sentenced under USSG §§2B4.1, 2C1.1, 2C1.2, 2C1.3, 2C1.4 (deleted), 2C1.5,
     2C1.6 (deleted), 2C1.7 (deleted), and 2C1.8.

           Burglary/Trespass includes burglary of a residence and burglary of a structure
     other than a residence, post office burglary, burglary of DEA premises (pharmacy), bank
     burglary, and trespass. This category includes offenders sentenced under USSG §§2B2.1,
     2B2.2 (deleted), and 2B2.3.

          Child Pornography includes the receipt or possession of materials involving the
     sexual exploitation of minors. This category includes offenders sentenced under USSG
     §§2G2.2 and 2G2.4 (deleted).

           Commercialized Vice includes gambling, animal fighting, and prostitution offenses.  
     This category includes offenders sentenced under USSG §2G1.1 where the court did not
     apply a Base Offense Level of 34, and all offenders sentenced under USSG §§2E3.1, 2E3.2
     (deleted), and 2E3.3 (deleted).
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                Drug Possession includes simple possession of all drug types. This category includes
          offenders sentenced under USSG §2D2.1.

               Drug Trafficking includes drug distribution/manufacture—conspiracy, continuing
          criminal enterprise, drug distribution—employee under 21, drug distribution near
          school, drug import/export, drug distribution to person under 21, establish/rent drug
          operation, endangering human life while manufacturing, and narco-terrorism. This
          category includes offenders sentenced under USSG §§2D1.1, 2D1.2, 2D1.5, 2D1.6,
          2D1.8, 2D1.10, and 2D1.14.

               Environmental includes waste discharge; specially protected fish, wildlife, and
          plants; recordkeeping, tampering, and falsification; tampering with a public water
          system; mishandling of environmental pollutants; and hazardous devices on federal
          lands. This category includes offenders sentenced under USSG §§2K3.1 (deleted), 2Q1.1,
          2Q1.2, 2Q1.3, 2Q1.4, 2Q1.5 (deleted), 2Q1.6, 2Q2.1, and 2Q2.2 (deleted).

                Extortion/Racketeering includes extortion by force, or threat of injury or serious
          damage, extortionate extension of credit, blackmail, Hobbs Act extortion, travel in aid
          of racketeering, crime relating to racketeering, and violent crimes in aid of racketeering,
          unlawful conduct relating to contraband cigarettes, and labor racketeering. This
          category includes offenders sentenced under USSG §§2B3.2, 2B3.3, 2E1.1, 2E1.2, 2E1.3,
          2E1.4, 2E1.5 (deleted), 2E2.1, 2E4.1, 2E5.1, 2E5.2 (deleted), 2E5.3, 2E5.4 (deleted), 2E5.5
          (deleted), and 2E5.6 (deleted).

                Firearms includes unlawful receipt/possession/transportation of firearms,
          ammunition, or explosive material; prohibited transactions involving firearms or
          ammunition; possession of guns/explosives on aircraft; unlawful trafficking, etc., in
          explosives; possession of guns/explosives in federal facility/schools; use of fire or explosives
          to commit felony; use of firearms or ammunition during crime; improper storage of
          explosive materials; and failure to report theft of explosive materials. This category
          includes offenders sentenced under USSG §§2K1.1, 2K1.2, 2K1.3, 2K1.5, 2K1.6, 2K2.1,
          2K2.2, 2K2.3, 2K2.4, 2K2.5, 2K2.6, and 2K3.2.

                Food and Drug includes tampering with risk of death or injury, providing false
          information or tampering with products, tampering to injure business, odometer laws
          and regulations, and violation of regulations involving food, drugs, etc. This category
          includes offenders sentenced under USSG §§2N1.1, 2N1.2, 2N1.3, 2N2.1, and 2N3.1.

                Forgery/Counterfeiting/Copyright includes counterfeit bearer obligations and
          forgery/counterfeit (non-bearer obligations) as well as criminal infringement of copyright
          or trademark. This category includes offenders sentenced under USSG §§2B5.1, 2B5.2
          (deleted), 2B5.3, and 2B5.4 (deleted).
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          Fraud/Theft/Embezzlement includes fraud and deceit, embezzlement—property,
    embezzlement from labor unions, embezzlement—mail/post office, embezzlement from
    benefit plans, bank embezzlement, bank larceny, theft from benefit plans, other theft—
    mail/post office, receipt/possession of stolen property, theft from labor union, theft or
    damage to cultural heritage resources, insider trading, and aggravated identity theft.
    This category includes offenders sentenced under USSG §§2B1.1, 2B1.2 (deleted), 2B1.3
    (deleted), 2B1.4, 2B1.5, 2B1.6, 2F1.1 (deleted), and 2F1.2 (deleted).

          Immigration includes trafficking in U.S. passports, trafficking in entry documents,
    failure to surrender naturalization certificate, fraudulently acquiring U.S. passports,
    smuggling, transporting, or harboring an unlawful alien, fraudulently acquiring entry
    documents, and unlawfully entering or remaining in the U.S. This category includes
    offenders sentenced under USSG §§2L1.1, 2L1.2, 2L1.3 (deleted), 2L2.1, 2L2.2, 2L2.3
    (deleted), 2L2.4 (deleted), and 2L2.5.

         Individual Rights includes interference with rights under color of law; force or threats
    to deny benefits or rights; obstructing an election or registration; manufacture, etc.—
    eavesdropping device; other deprivations/discrimination; obstructing correspondence;
    peonage, servitude, and slave trade; intercept communication or eavesdropping; and
    conspiracy to deprive individual of civil rights. This category includes offenders sentenced
    under USSG §§2H1.1, 2H1.2 (deleted), 2H1.3 (deleted), 2H1.4 (deleted), 2H1.5 (deleted),
    2H2.1, 2H3.1, 2H3.2, 2H3.3, 2H4.1, and 2H4.2.

         Kidnapping includes hostage and ransom taking, abduction, unlawful restraint,
    and aircraft piracy. This category includes offenders sentenced under USSG §§2A4.1,
    2A4.2, and 2A5.1.

         Manslaughter includes both involuntary and voluntary manslaughter.                 This
    category includes offenders sentenced under USSG §§2A1.3 and 2A1.4.

         Money Laundering includes laundering of monetary instruments, monetary
    transaction from unlawful activity, failure to file currency report, and failure to report
    monetary transactions. This category includes offenders sentenced under USSG §§2S1.1,
    2S1.2 (deleted), 2S1.3, and 2S1.4 (deleted).

           Murder includes first degree murder, second degree murder, and conspiracy or
    solicitation to commit murder. This category includes offenders sentenced under USSG
    §§2A1.1, 2A1.2, and 2A1.5.

          National Defense includes treason, sabotage, espionage, evasion of military service,
    prohibited financial transactions and exports, providing material support to designated
    foreign terrorist organizations, nuclear, biological, and chemical weapons, and weapons
    of mass destruction. This category includes offenders sentenced under USSG §§2M1.1,
    2M2.1, 2M2.2 (deleted), 2M2.3, 2M2.4 (deleted), 2M3.1, 2M3.2, 2M3.3, 2M3.4, 2M3.5,
    2M3.6 (deleted), 2M3.7 (deleted), 2M3.8 (deleted), 2M3.9, 2M4.1, 2M5.1, 2M5.2, 2M5.3,
    2M6.1, and 2M6.2.
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               Obscenity/Other Sex Offenses includes failure to register as a sex offender,
          recordkeeping offenses involving production of sexually explicit material, and importing,
          mailing, transporting, or broadcasting obscene material. This category includes offenders
          sentenced under USSG §§2A3.5, 2A3.6, 2G2.5, 2G3.1, and 2G3.2.

               Prison Offenses includes contraband in prisons, riots in federal facilities, and
          escape. This category includes offenders sentenced under USSG §§2P1.1, 2P1.2, 2P1.3,
          and 2P1.4 (deleted).

               Robbery includes bank robbery, Hobbs Act robbery, post office robbery, other robbery,
          and carjacking. This category includes offenders sentenced under USSG §2B3.1.

                Sexual Abuse includes criminal sexual abuse, sexual abuse of a minor, sexual
          abuse of a ward, abusive sexual contact, transportation of minor for sex, sex trafficking of
          children, sex trafficking of adults by force, fraud or coercion, child pornography production,
          and child exploitation enterprises.       This category includes offenders sentenced under
          USSG §2G1.1 who received a Base Offense Level of 34, and all offenders sentenced under
          USSG §§2A3.1, 2A3.2, 2A3.3, 2A3.4, 2G1.2 (deleted), 2G1.3, 2G2.1, 2G2.3, and 2G2.6.

                Stalking/Harassing includes threatening or harassing communications, hoaxes,
          false liens, stalking, and domestic violence. This category includes offenders sentenced
          under USSG §§2A6.1 and 2A6.2.

                Tax includes non-payment of taxes, conspiracy to avoid taxes, offenses relating
          to withholding statements, aiding or advising tax fraud, failing to collect or truthfully
          account for and pay over taxes, failing to deposit collected taxes in required accounts
          after notice, alcohol and tobacco tax offenses, and customs taxes. This category includes
          offenders sentenced under USSG §§2T1.1, 2T1.2 (deleted), 2T1.3 (deleted), 2T1.4, 2T1.5
          (deleted), 2T1.6, 2T1.7, 2T1.8, 2T1.9, 2T2.1, 2T2.2, 2T3.1, and 2T3.2 (deleted).

                Other Miscellaneous Offenses includes interference with a flight crew, unlawful
          sale, transportation, possession, manufacturing, or importation of drug paraphernalia,
          distributing, importing, or exporting listed chemicals, evading reporting or recordkeeping
          requirements involving chemicals, acquiring a controlled substance by fraud or forgery,
          border tunnels and subterranean passages, and all other felony and miscellaneous offenses
          not previously listed in any of the other categories or covered by specific guidelines.  This
          category includes offenders sentenced under USSG §§2A5.2, 2D1.7, 2D1.11, 2D1.12,
          2D1.13, 2D2.2, 2D2.3, 2D3.1, 2X5.1, 2X5.2, and 2X7.1. In addition, this category includes
          offenders sentenced under USSG §§2X1.1, 2X2.1, 2X3.1, 2X6.1, and 2X7.2 if no underlying
          guideline was provided.
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     Sentence Type

       Using sentencing information obtained from the Judgment and Commitment Order,
the Total Receiving Imprisonment category includes the number of offenders sentenced (and
percent of Total Cases) who received a commitment to the Bureau of Prisons. This category is
the sum of cases in Prison Only and the Prison and Alternatives categories.

       The Total Receiving Probation category includes the number of offenders sentenced (and
the percent of Total Cases) who received a term of probation with or without a condition of
community confinement, intermittent confinement, or home detention.   This category is the
sum of Probation Only and Probation and Alternatives categories.

       The Prison Only category includes offenders sentenced to a term of imprisonment
only, with no additional conditions of community confinement, home detention or intermittent
confinement.  

       The Prison and Alternatives category includes all cases in which offenders received
prison and conditions of alternative confinement as defined in USSG §5C1.1.  This category
includes, but is not limited to, Zone A, Zone B, or Zone C cases receiving prison with additional
conditions of a term of community confinement, home detention, or intermittent confinement.  

       The Probation Only category includes the number of offenders who received a term of
probation without a condition of community confinement, intermittent confinement, or home
detention.

       Probation and Alternatives category includes the number of offenders who received a
term of probation with a condition of community confinement, intermittent confinement, or
home detention.

       The Fine Only category includes the number of offenders who received no prison, no
probation, and no time of alternative confinement as defined in USSG §5C1.1.  Most of these
offenders received a fine and/or a special assessment.



     Upward Departure

       Upward Departure consists of cases in which the sentence imposed was above the
applicable guideline range and for which the court cited a reason on Part V of the Statement of
Reasons form (Departures Pursuant to the Guidelines Manual). In these cases, the court may
also have cited 18 U.S.C. § 3553 or factors or reasons specifically prohibited in the provisions,
policy statements, or commentary of the sentencing guidelines as additional reasons. This
category includes departures which result from government motions as well as from motions
by the parties.
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           Upward Variance

              Upward Variance consists of cases in which the sentence imposed was above the
      applicable guideline range and for which the court cited a reason on Part VI of the Statement
      of Reasons form (Court Determination for a Variance). This category includes variances which
      result from government motions as well as from motions by the offender.



           Weapon Involvement

              Weapon Involvement in a case is identified either by the application of a guideline
      enhancement for weapon involvement or a conviction under 18 U.S.C. § 924(c), or both. This
      variable does not identify cases in which a weapon is present in the offense, but the offender was
      not convicted of 18 U.S.C. § 924(c) or did not receive a weapon-related sentencing enhancement.
      It does not identify cases in which the specific enhancement can be applied for multiple reasons;
      for example, the specific enhancement can be applied if the offense involved either physical
      contact or if a dangerous weapon was possessed. Finally, this variable does not identify cases
      sentenced as weapon offenses under USSG Chapter Two, Part K, unless they were convicted of
      18 U.S.C. § 924(c).



           Within Guideline Range

             Offenders are classified in this category when the sentence is within both the guideline
      range and within the statutory minimum and maximum. The sentence must meet minimum
      zone requirements as well. In rare instances when a very small departure or variance is
      granted, but the sentence is still within the original guideline range, the sentence is reported
      as within range.



           Year

             Information on Year is obtained from the Judgment and Commitment Order. Unless
      otherwise indicated, the sentencing year is defined as the fiscal year in which the offender was
      sentenced.



           Zone

              The Sentencing Table is categorized into sentencing Zones. Courts may impose various
      types of punishment as alternatives to imprisonment. Alternative types of punishment include
      probation, home detention, community confinement, and intermittent confinement.  Imposition
      of alternative types of punishment is restricted to offenders within specific sentencing zones.  
      See Chapter 5 of the Guidelines Manual for a description of alternatives to imprisonment and
      the conditions under which they apply.
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                         Exhibit 43
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                                       #:5917




 1                       DECLARATION OF CUSTODIAN CERTIFYINd BUSINESS RECORD

 2              I,    /Renee, A <!oh.en
                                (name )
                                                              I   hereby declare as follows:

 3
                1.         I am a duly authorized custodian of records for
 4
      .L.\-""'---LW:~...L:..~~!el.L-4-!
                                      ~w~~ · ~
                                             i) .   (   'e he "'B~sine5s Entit:7 11   )    •   In that c~paci ty,    I am
 S        (name of business entity )
      knowledgeable about the matters set forth herein and I am qualified
 6
      and authorized to make this declaration.
 7

 8
                           a.          My job title/position is:                L:l~€..Y\$ed ~~~MJ,Ojl"St
                           b.          I have been employed in this capacity for
 9

10             .3 5+           ~ ectt<;>. a ftd --El)        t he Business Entity fo~
                (duratio n )                                                                            (duration)

11
                           c.          My job duties are:

12
         ?r-ov1J,~,               C!.l,l'\t!4l s}-h,reh-SJe.,            ps 1Q.;ho/()~ 1td.i.        serVJ~GS.
13

14
                           d.          I am knowledgeable about the matters set forth herein
15
      and the relevant record-keeping practices of the Business Entity
16
      based upon (check all that apply):
17
                         Training.
18
                         Familiarity with relevant policy/policies.
19
                         Hands-on experience.
20
                         Supervision of one o r more others with hands -on experience.
21
                 [I]     Other.            Describe:
22
                   J      ~ "tA,e.,                 "db.
23

24
         Pr~3if                               r ·
25
                 2.        Attached hereto or enclosed herewith are originals/~ rue                                    an<i)
26

27
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      correct duplicates of a record or records of a...ro9trlaF-l¥ Qanew:etect=


28
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        re: SK~l1s.
     Case 2:19-cr-00642-VAP Document 310-6 Filed 02/10/21 Page 115 of 121 Page ID
                                       #:5918




 1

 2     (Circle either "originals" or "true and correct duplicates" and

 3     strike out the other term.)

 4          3.    I certify that the attached record1(s) : ·
                                                              i
 5                a.     was/were made at or near the time of the occurrence of

 6     the matters set forth therein,

 7                b.     was/were made by, or from infprmation transmitted by,

 8     a person with knowledge of those matters; .

 9                c.     was/were kept in the course of the regularly conducted

10     activity of the Business Entity;

11                d.     was/were made by and in the course of the regularly

12     conducted activity as a regular practice;

13                e.     if not original records, are exact duplic?ttes of

14     original records.

15          I declare under penalty of perjury that the foregoing is true

16    and correct.     This declaration is
17    on
                       t was signed)
18

19

20                                               (typed or printed name)

21

22

23

24

25

26

27

28

                                             2
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This is the only part of my Custody Evaluation Report that pertained to Mr. Zuberi and Mr.
Skarulis' finances.

*As stated, it was beyond the scope of the Child Custody Evaluation and beyond my scope of
expertise.



Imaad Zuberi - Angel Investor in Father's business



Mr. Zuberi met Father when they were in a MBA class together. Mr. Zuberi is an investor in
startup companies in America . Avenue Ventures is made up of personal investors and company
investors. Funding for Father is partially out of pocket, partially from company funds and
personal money.



He states that Father receives a salary and development costs from Avenue Ventures for his
product. He states that Mark owns 69% of his software product and he (Mr. Zuberi) has a 20%
share and the rest is other investors.



According to Mr. Zuberi, Father coordinated parts of a contract that they had with the Sri Lanka
government. However, the government changed and they are no longer involved in that
project.



*The logistics of Father's business is beyond my scope of expertise. Mr. Zuberi at one point
stated he was asking Father to return funds, and then stated there was a misunderstanding. If
more information is needed, I would defer this aspect of the investigation to a forensic
accountant.



Please see Appendix 1 for the exchange of emails between Mr. Zuberi and the evaluator.
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                                APPENDIX 1
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                                  #:5921



 imaad
 Actions
 Dr. Renee A. Cohen
 6/05/15
 To: imaad zuberi


 **Does this mean he returns all salary income earned in 2014 and 2015? or money invested in
 the project? or Both?

 Renee A. Cohen, Ph.D.
 Clinical & Forensic Psychology
 (310) 828-1027
 Offices in Brentwood & Hermosa Beach



 Website: racphd.com
 Actions

 Add to contacts
 6/05/ 15

 To: imaad zuberi


 **We are exiting Circa and have asked Mark for the money we have invested in
 the company.
  imaad

 -----Original Message-----
 From: imaad zuberi [                                     ]
 Sent: Wednesday, June 3, 2015 3:25 PM
 To: 'drreneeacohen@hotmail.com'
 Subject: FW: Skarulis

 Sorry for the delay. Please see reply below imaad



 From: Dr. Renee A. Cohen <
 Sent: Wednesday, May 27, 2015 6:01 PM
 To:
 Subject: Skarulis

  Mr. Zuberi,
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                                  #:5922



To: 'Dr. Renee A. Cohen'


*"'I spoke to Mark on Friday. We cleared up the misunderstanding about documentation we
thought was missing. We are now committed to funding Circa till the end of the year. Hopefully
by then Circa will have customer by which it will be self funded
imaad

From: Dr. Renee A. Cohen
Sent: Sunday, June 14, 2015 9:50 AM
To: imaad zuberi
Subject: Re : Skarulis

Thank you for keeping me updated.

Sent from my iPho nc
Actions
Dr. Renee A. Cohen
6/1 4/1 5
To: imaad zuberi




Thank you for keeping me updated.

Sent from my iPho ne
Actions
imaad zuberi
Add to contacts
6/1 0/1 5

To: 'Dr. Renee A. Cohen'


I am trying to get hold of Mark without success. He didn't return the many phone call message I left for
him. I need to talk to him to get to a resolution
imaad
Actions
imaad zuberi
/\dd Lo contacts
6/08/ 15


To: 'Dr. Renee A. Cohen'

I have called Ma rk and waiting to hear back from him. I will discuss way forward with him when I meet
him                                                                                       •
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                                  #:5923



 Dr. Renee A. Cohen
 Wed 5/27/2015, 5:01 PM
 Mr.

 Thank you for returning my call.

 If you could provide the following information it would help to clarify the accounting.

 Information for 201t:

 What is Mr. Skarulis' salary?

 How is he paid? e.g. personal checks; business checks?

 Please provide the checks that are for salary.

 Please provide the checks that are for development or other spending.

 How much of the company do the investors (Ave. Venture) own?

 How much of Cirqa does Mr. Skarulis own?

 How long has   lilfiil Venture been affiliated with Mr. Skarulis?
 What is your commitment to the project? e.g. Is there a limit to your financial backing?

 How much travel will Mr. Skarulis be obligated to do for photo gallery accumulation?
 Marketing?

 Projected time for the app to be ready for market/sale?

 Thank you for your assistance.



 Renee A. Cohen, Ph.D.
 Clinical & Forensic Psychology
Case 2:19-cr-00642-VAP Document 310-6 Filed 02/10/21 Page 121 of 121 Page ID
                                  #:5924



 Thank you for returning my ca ll.

 If you could provide the following information it would help to clarify the
 accounting. Answers provided next to question

 Information for 2015:

 What is Mr. Skarulis' salary? It is $5000/month plus

 How is he paid? e.g. personal checks; business checks? A variety depending
 on what accounts we utilize

 Please provide the checks that are for sala ry. The checks to Mark Skarulis
 have been for salary. Mark should have copy

 Please provide the checks that are for development or other spending. No
 checks, all other payments have beer credit card

 How much of the company do the investors (Avenue Venture) own? (-36%)

 How much of Cirqa does Mr. Skarulis own? (=so%)


 How long has Avenue Venture been affiliated with Mr. Skarulis? formally 1.5
 Years. I have known him longer

 What is your commitment to the project? e.g. Is there a limit to your
 financial backing? Through the end of 2015 sale/exit, ongoing self-funded
 entity


 How much travel will Mr. Skarulis be obligated to do for photo gallery
 accumulation? Marketing? Currently focused on Southern Cal1forn1a,
 immediately there is no significant travel scheduled outside of the Los
 Angeles area

 Projected time for the app to be ready for market/sale ? it is being marketed
 currently. it will not be fully functional until Santa Monicd Pier and
 Beverly Hills are finished

 Thank you for your assistance .

 Renee A. Cohen, Ph.D.
 Clinical & Forensic Psychology
